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EXHIBIT O
Case 3:21-cv-10352-RHC-EAS ECF No. 46-16, PagelD.1288 Filed 05/11/22 Page 2 of 33

In The Matter Of:
Darrin VanPelt vy
Aaron Layne and City of Detroit

Steven Ashley
Vol I
April 12, 2022
Steven Ashley

Court Reporting Services
Oakland County, Clarkston, Michigan
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Original File Ashley, Steven.txt
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1 UNITED STATES DISTRICT COURT 1 {1 NDE xX}
2 FOR THE EASTERN DISTRICY OF MICHIGAN 2 WITNESS PAGE
3 3 «STEVEN D. ASHLEY —
4 * * * * 4 Examination by Ms. DeRouin..........., 4
5 5 Examination by Mr, Paddigon........... 106
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7 ORR laintiee, 7
8 on. Robert H. Cleland | 8 hone
9 7 9
BARON LAYNE, and
10 CITY OF DETROIT, 10 EXHIBITS PAGE # MARKED
11 Defendants. 11 Deposition Exhibit No. 1.......... 5,6,9
12 / 12 Deposition Exhibit Wo. 2.......... 9, 10
13 13
14 VIDEOCONFERENCE DEPOSITION OF 14
15 DEPONENT: STEVEN D, ASHLEY 15
16 DATE: Tuesday, April 12, 2022 16
1? TIME: 9:59 a.m. 17
18 LOCATION: Videoconferance via Zoom 18
19 Michigan 19
20 20
21 REPORTED BY: JENNIFER CLAUSON, CSR-6867 ai
22 Court Reporting Services 22
23 courtreportingserviceatymail. com 23
24 24
25 25
Page 2 Page 4
1 APPEARANCES : 1 Videoconference via Zoom, Michigan
? 2 Monday, April 12, 2022
3 AMY DeROUIN, ESQUIRE 3 At or about 9:59 am.
4 Christopher Trainor & Associates 4 * *« oF £ € &
5 $750 Highland Road 5 STEVEN D. ASHLEY
6 White Lake, Michigan 49386 6 Having been first duly sworn by the Notary Public
7 (248) 886-8650 E-mail: amy,.derouin@ejtrainor,com 7 to tell the truth, the whole truth, and nothing
8 Appearing on behalf of the Plaintiff. 8 but the truth, testified upon his oath as follows:
3 9 EXAMINATION
1O GREGORY PADDISON, ESQUIRE 10 BY MS. DeROUIN:
ll City of Detroit Law Department 11 Q. Can you state your name for the record?
12 2 Woodward Avenue, Suite 500 12 A. Steven, S-T-E-V-E-N, D, like in David, Ashley,
13 Detroit, Michigan 48226 13 A-S-H-L-E-Y,
14 (323) 237-0435 E-mail: paddisong@detroitmi.gov |14 Q. Okay. Mr, Ashley, you've given several depositions in
15 Appearing on behalf of tha Defendants, 15 your career as an expert, correct?

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a
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A. That's true, yes.
Q. And I think your CV reflects maybe, I think, you've
testified at about 47 hearings and deps and so forth,

BPR
wo «1
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oO ~

19 19 ~~ correct?

20 20 A. Yes. And there are two recent additions.

21 21 Q. Okay,

20 22 A. Which I've provided to Greg and I'm sure he'll forward to

23 23 you,

24 24 Q. I'll ask you about that just briefly in a second, but, I

25 25 — guess, what I'm getting at, sir, is you know the ground
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|

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1 __ rules today pretty loud and clear, correct? 1 A, Just a couple.

2 A. Yes. 2 Q. Sure. Perfect, thanks, Mr. Ashley, go ahead,

3 Q. Okay. And have you given any Zoom depositions, have you | 3 A. Yeah, at the top of page two,

4 taken advantage of this Pandemic opportunity? 4 Q. Which would be 62?

5 A. Yes, at least once, maybe twice. No, just once. 5 A. Yes.

6 Q, Okay, 6 Q. Okay.

7 A, Just once, 7 A. I'm sorry.

8 Q. And I think -- 8 Q. You're okay. Okay.

9 A. Excuse me. 9 A. See where it says first bullet earned and received
10 Q, You're okay. And I think the only added rule I'm going to | 10 certification.
11 say is that we can't talk over each other. You're going |141 Q. Yes.
12 to probably see from time to time I'm a fast talker andI |12 A. Okay. I've added one item to that which is --
13 —_-will try very hard to slow it down, especially fora Zoom [13 Q. Yep.
14 deposition because if get the yellow box and youhave |14 A. Which is certified use of force instructor slash analyst
15 the yellow box at the same time, the court reporter's not [15 — and that is through the Legal and Liability Risk
16 — going to know who's saying what to who. Sol willdomy {16 Management Institute, typically referred to LLRMI.
17 _ best to slow it down, ask a complete question, and allow |17 Q. Okay. And when did you -- and what timeframe were you
1@ = you to give a full answer, okay? 18 —_ able to add that certification? Was it this year in 2022
19 A, Sure. 19 ~~ or when did you add that?

NM
oO

Q. Okay. I'll afford you that same courtesy. T'll let you

20 A. It was literally just last week actually.

21 get your whole answer out before I ask the next follow-up |21 Q. Oh, okay,
22 question, but, I guess, other than that, I think we talked |22 A. Yes. And then if you flip over to, let's see. I guess,
23 about two seconds before we went on the record, was |23 on top, it would be page 68 under instructor armor
24 saying I'm going mark as Exhibit 1 your CV, your |24 certifications.
25 professional resume. Do you have that before you today? |25 Q. Mm-hm.
Page 6 Page 8
1 A. Yes, Ido, 1 A. I added that same line.
2 Q. Okay. And it looks like I received this CV at the end of | 2 Q. Okay. Use of force instructor and analyst?
3 December, it looks like. The reports dated December 23rd, | 3 A. Yes. Certified use of force instructor slash analyst
4 2021 and it was attached to your report, All I'masking, | 4 © LLRMI. And then -- went the wrong direction, Sorry,
5 Mr. Ashley, is this the most recent current CV that you | 5 = Page -- sorry. I'm having an allergy morning, So excuse
6 have or did you update it since the end of December of | 6 me for --
7 2021? 7 Q. That's okay.
8 A. I have updated it, yes. 8 A. -- coughing in your ear.
9 Q. Okay. Can you tell me, because I haven't been provided | 9 Q. Take your time, drink your water. I don't care.
10 ~— the updated CV, can you tell me what updates you madeto |10 A, Let's see. Page 66 under expert case consultation.
11 it, just by page and my first page of your CV is page 61 |11 Q. Yep.
12 = of your report. So if you wanted to just give me a page |12 A, You'll note the last sentence it says testified as an

13 = number that you made those changes and what I would like

14 ~— to do, I would assume, Greg has no objections.
15 MS. DeROUIN: Jenny, the Exhibit 1 that I sent to
16 ~—- you, given that it's not current, we're going to have Mr.
17 ~— Ashley e-mail it to Greg and Greg will send you the most
18 current Exhibit 1, okay? Thanks.

19 MR. PADDISON: Yep.

20 A. Okay. Ms, Amy, do you want me to go ahead and manually

NS
HB

give you the updates?
Q. (BY MS. DeRQUIN): Yeah, that would be great because I

ho
to

13. expert at deposition hearing or trial 50 times in 43
14 ~—cases. That is updated to 52 times in 45 cases.

15 Q. Are you counting this one or are we going to do another
16 amendment in the next case?

17 A. That doesn't count this one.

1a Q. Okay.

19 A. I believe, those are the only updates,

20 Q. Okay. Then --

21 A. Also --

22 Q. Go ahead.

23 don't have a copy of it unless you got -- I mean, how many |23 A. I'm sorry. I've also added those last two cases to my
24 updates do you have? Let me ask that before I go. 15 or | 24 case list.

25 ~=—s- you got like under five or — 25 Q. Okay. In the case list, where was -- where would I find
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Page 9 Page 11
1 __ the case list at, your case list? 12 on what you read from Mr. Katsaris?
2 A. Toward the end of the report on page -- let's see here. | 2 A. Other than the fact that I don't agree with him, which, I
3 Q. 82? 3 guess, is normal, no changes to my report.
A A. 82, 4 Q. Okay. Looks like from your report, you indicated that you
5 Q. Beginning on 82, sir? 5 _ were retained by defense counsel in this case on July
6 A. Yes, page 82. 6 27th, 2021. You reference that it was, quote, for the
7 Q. Okay. Okay. So with that being said, we're going to mark | 7 — purpose of providing review, analysis, and opinions
8 as Exhibit 1 your amended CV and that willbe defense | 8 — regarding allegations made against certain officers of the
9 counsel provide that to the court reporter and we'llmove | 9 Detroit, Michigan police department in the City of
10 ~— on, okay? 10 =: Detroit. I'm just asking for clarification. Other than
11 A. Yes. i1 __ the actions of the named Defendant Aaron Layne, which
12 Q. Okay. Now, I also am going to mark as Exhibit 2 your |12 _ other officers, if any, were you referring to when you
13 =. 26-page report dated December 23rd of 2021. Do youhave |13 mentioned other certain officers?
14 that before you? 14 A. Primarily Officer Layne. You know, initially, I was asked
1s A. Yes, I do. 15 __ to look at everything, which is what I intended to
16 Q. Okay. Aside from the report in this case, have you |16 _ indicate by that statement and there was another officer
17. —- written any other reports or affidavits, supplemental |17 that came to the scene, but in terms of the actual
18 —_ reports, supplemental affidavits, anything that would |18 specific actions and the use of force, really just Officer
19 ~— offer any additional opinions in this case that are not |19 Layne.
20 = contained in your December 23rd, 2021 report? | 20 Q. Okay. And the other officer that came to the scene was
21 A. No. 21 Darryl Bennett, correct?
22 Q. Okay. As you sit here today, sir, do you intend to draft |22 A. Yes.
23 any supplemental reports or affidavits offering any |23 Q. Okay. But in general, just so I understand it with
24 additional opinions in this case? 24 respect to your analysis and your review and consultation
25 A. AsIsit here today, no, If I'm asked to, of course,I |25 and offering of opinions, those opinions are based — were
Page 10 Page 12
1 will, 1 done based on Defendant Layne and his actions, correct?
2 Q. Okay. Up until today, and you're talking to me today, | 2 A. Yes.
3 have you been asked to by defense counsel to add any | 3 Q. Okay. You don't have an opinion one way or the other with
4 additional opinions or make any supplements or amendments? | 4 regard to any action or inaction taken by Darryl Bennett
5 A. No. 5 inthis case, do you?
6 Q. And, of course, I'm sure in preparing for your deposition | 6 A. No.
7 today, that you have had time to recently review your | 7 Q. Okay. It looks like also, of course, you've been paid to
8 26-page report, correct? 8 provide these expert services in this case just like any
9 A. Yes. 9 other expert would in any other case. It looks to me I
1o Q, Okay, Are there any changes whatsoever, no matier how |10 — didn't receive any type of fee agreement other than what's
11 — minuscule or not, that you would like to be made to this |11 stated in your report. Can you tell me how much you've
12  — amendment, anything like that, with regard to your 26-page |12 been paid for your work, expert work, done on this case as
13s report marked as Exhibit 2? 13 = of the date of this writing?
14 A. No. 14 A, Actually, yes, going -- okay, Greg. Going through my file
15 Q. Did you have an opportunity to review Mr. Katsaris' expert [15 last night, I discovered that I had not billed the City
16 ~—s report in this case? 16 ~— for this case.
17 A. Yes. 17 Q. Oh, boy.
18 Q. And did you have an opportunity to review Mr, Katsaris' |18 A. That managed to fall through the cracks, but I will. I
19 deposition transcript that was taken in this caseacouple |19 just haven't yet. So as of today, I haven't, other than
20 weeks ago? 20 ~—- your fee, which you graciously provided to me ahead of
21 A. [believe so. I don't remember specifically, butI |21 time, I have not been paid anything for this case.
22 believe, I did, yes. 22 Q. Okay, And just for the record, my fee would be the
23 Q. Okay. Is there anything from reading the report or |23 deposition fee that you charged per the hour for the
24 reading Mr. Katsaris' deposition transcript that you would |24 deposition for today, correct?
25 want to make changes or supplementals to your report based {25 A. That's correct, yes.

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1 Q. Okay. And then even though you haven't billed the City of | 1 very beginning of the year, but other than, no.
2 Detroit yet for any expert services done on this case, you | 2 Q. Okay. Can you tell me ballpark as far as your when the
3 will, correct? 3 last time you received any income or earned any income
4 A, That's correct, yes. 4 from any training courses you've done, a risk management
5 Q. Okay. And I just ask that once you do that billing, if | 5 | assessment you've done in the last, I don't know, five
6 you could provide, of course, you're going to provide it | 6 years?
7 to defense counsel for payment, but I just ask the defense | 7 A. I would only be guessing. Risk assessments I don't do
8 counsel will supplement and provide that the on me, okay? | 8 that often anymore. Frequently, that's, you know, police
9 So I take it just to answer my second 9 chief calls me and says would you look at something for me
10 — question, you don't have any invoices or anything in your |10 and I just do it. In terms of training once I started
11 _ file that will reflect any type of work done on this case [11 teaching at Concordia, I pretty much stopped other outside
12 to today's date, correct? 12 training. Of course, if somebody calls me and wants me to
13 A, That's correct, yes. 13 come in and do some training, I will.
14 Q. Okay. And my understanding, of course, sir, that you're |14 Q. Sure,
15 _ currently employed as an expert witness, correct? |15 A. It was generally, you know, random. It wasn't any
16 A. Among other things, yes. 16 —_ specific contract J had or anything like that, but I don't
17 Q. Yep, and that's what I was going to ask you. Is there any |17 recall anything specific.
18 other capacity that you work currently for income other |18 Q. In the last five years?
19 than being an expert witness or police procedures expert |19 A. Off the top of my head, I don't recall anything specific,
20 ~— witness? 20 ~~ no.
21 A, On occasion, I do training, risk management assessments, |21 Q. Okay. And just so we're clear, in the last five years
22 but essentially, I'm retired. So interms of actual | 22 correct, sir?
23 income, I supplement my retirement income with my expert |23 A. That's correct, yes.
24 witness work. 24 Q. Okay. I guess, in general with regard to training, and I
25 Q. Sure, And I can look at your CV, but just can ask you, |25 know you're CV reflects you're an instructor in many
Page 14 Page 16
1 = [ think, it's easier talking to you versus looking ata | 1 areas, can you tell me when the last time you have done or
2 CV, where do you retire from, sir? 2 conducted any formal training?
3 A. Sort of collectively. 3 A. I make presentations. With COVID, that’s been kind of
4 Q, Okay. 4 reduced, but it's typical that I would present at
5 A. [retired from the Livingston County Sheriff's Department | 5 conferences once, twice, perhaps three times a year
6 in 1989 and then J worked 12 years asa risk management, | 6 depending on the conference. The last time I actually did
7 risk control, loss control specialist working with various | 7 any specific presentation was in March at the ILEETA
8 — insurance programs, the Municipal Legal, the MMRMA, and | 8 conference and that's listed in my CV.
9 one of the programs -- one of the company that actually | 9 Q.Mm-hm.
10 doesn't do work in Michigan, and those are all listed on |10 A. As a matter of fact, now that you mention it, that is an
11 =o my CV. And then -- 11  —_ additional update to the CV.
12 Q., Okay. 12 Q. Okay. So ILEETA is the International Law Enforcement
13 A. And then about 2000, I decided, you know, it's time to |13 Educators and Trainers Association, correct?
14 just do my own thing. So I taught -- you know, at various |14 A. And trainers association.
15 _ times, I taught for Taser International, [taught for |15 Q. Yep. Okay. And you said you presented at a conference
16 Concordia University. So sort of a loose collective |16 — ILETTA and I know you said it's on your CV. Would it have
17 ~—s retirement, if you know what I mean. 17 ~—_ been March of 2020 or can you tell me the year at all?
18 Q. Sure. Sure. In the fast year for income have -- in the |18 A. March of this year.
19 _—_ last year since we're kind of new into 2022, so let's do |19 Q. March of 2022?
20 2021. In 2021, sir, have you obtained or -- yeah, have |20 A. Mm-hm.
21 you eared any income for any training or risk management |21 Q. That's a yes?
22 assessments that you've done? 22 A. Yes, sorry.
23 A.Idon'trecall any, 2021 with COVID and everything was 123 Q, Sorry, Gotta catch those. It's all I'm doing. Greg
24 — kind of a strange year and I stopped teaching at Concordia {24 supposed to be doing that forme. Okay.
25 ~—s spring of 2021. So there would be a little bit at the |25 So I asked about training and I think how I

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understand it, you haven't done any type of formal
training as an instructor in more than five years, but you
said you recently presented at a conference for JLEETA in
March of 2022. What, I guess, in general, I know you got
to add that to your CV so I have an opportunity to review
that, but in general, what was your, you know, reason for
presenting at the conference, what area of I would take it
law enforcement training did you train on, so to speak, or
speak on?
A. I was just looking to see. This would be for you on page

ow OI mn Oo fF wh eR

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1 Q. Okay. So what I get from the last five years, I
understand you have a retirement income, we're not going
there. But what I'm asking is in general, it looks like
in order to supplement your income as you told me earlier,
your work has been -- the work for income, excuse me. Has
been done in the expert field, correct?

A, Except for teaching that I did at Concordia University.

Q. Sure. That was -— was it rapped up last spring of 2021 or

spring of 2020?
A. I believe, it was spring of 2021.

eo OA on Ob wD NH

B
Qo

18 lectures, sir, correct?

19 A. Yes,

20 Q. Okay, And were you provided any income as being a guest
21 lecture for that ILEETA conference?

22 A.No, the conference fee is waived for presenters, but other
23 ‘than that,

24 Q, Okay. You're a member of ILEETA, correct?

25 A. That's correct, yes.

11 76 and there's an addition, which has the topic of my |11 Q. Okay. So other than the teaching at Concordia, what we
12 presentation and the actual gist of the presentation was] |12 have as expert work, can you give me like as far as a
13 want to give you -- and pardon me for flipping pages. I 113 percentage at all, like how much of your expert work, I
14 want to give you the exact title. This head title was, |14 guess, from your teaching is derived from income, like in
15 “Make Your People Experts, Win the Aftermath." And {15 a pie chart? Is it 80 percent, 75?
16 —_ generally, the topic was for trainers know more about the {16 A. It's probably, you know, it varies from year-to-year
17 —_ aftermath of an incident, legal ramifications, what your {17 — anywhere from 40 to 50 percent I would think. Depends on
1s _ people are going to be faced with when they givea |18 when lawyers pay their bills. Sometimes.
19 = deposition, types of questions that typically would trip |19 Q. Or if you bill, right? You got to bill first?
20 them up because they don't understand the purpose of the |20 A. That's right, Can't believe I didn't bill.
21 question, The process, you know, the post-incident |21 Q. I'm just joking.
22 process, dealing with interviews. Just that whole -- |22 A. Yes.
23 everything that happens after an incident in terms of | 23 Q. Okay. In general, can you say -- I know it's a little
24 their documentation and then their response to questioning |24 funny given the Pandemic, I mean, Pandemics not funny,
25 and all that kind of stuff. 25 but it's been funny for everybody I'm saying as far as how
Page 18 Page 20
1 Q. Okay. And I just want to make sure, I probably 1 we are all functioning, but in general, could you tell me
2 misunderstood you. When you say you made a presentation’ | 2 ballpark in 2021 what your gross income was with regard to
3 at the ILEETA conference, I swear you said last month, but | 3 expert work that year?
4 the one Thave on the CV looks like the last one was done | 4 A, I would only be guessing.
5 on March of 2019. Are you saying you need to amend? Is | 5 Q. Sure. It's a ballpark.
6 that the part of the amendment to your new CV of March of | 6 A, Right. I really couldn't. I mean, I would just be
7 © 2022? 7 pulling a number out of the air and percentage wise,
8 A. Yes. 8 probably 50 percent. My wife and I do our taxes together.
9 Q. Okay. 9 So her retirement incomes included as well. So I'm
10 A. That's an additional. [ forgot about that. That's an |10 guessing maybe 50 percent.
11 ~— additional -- additional addition. 11 Q. So 50 percent of your income, sir, from 2021, would have
12 Q. Okay. That's fine. And if you could think of anything {12 been coming from expert work on cases?
13 _ else during this deposition that jogs your memory, which |13 A. Yes, but again, that's just a seat of the pants guess.
14 is pretty common for people, just let me know, we can go |14 Q. Okay. And did you file income taxes in 2021?
15 back real quick. 15 A, Actually, we're on an extension, so --
16 A. Thank you. 16 Q. Okay.
17 Q. Okay. And then, of course, that would be under guest [17 A. I haven't filed quite yet.

a

Q, Okay. Then I'm going to ask real quick in 2020, can you

19 tell me, same question, can you tell me a ballpark
20 = approximation, estimate of what your income was for 2020
21 just speaking with regard to expert work?

22 A. It would have to be the same answer.

23 Q, Okay.

24 A. Ijust don't have those numbers.

25 Q. Okay. Did you file your income taxes for 2020?

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1 A. Yes. 1 calls from other plaintiffs' attorneys other than with the
2 Q. Okay. And, of course, your income taxes would reflect | 2  — scope being as a taser case, correct?
3 that information, right? 3 A, Oh, yeah, absolutely, that's fair to say, yes.
4 A. Oh, certainly, yes. 4 Q. Okay. And some of those phone calls, I don't know how
5 Q. Okay. I learned from page 66 of your report that you've | 5 — many, I don't know if you could tell me, you give them
6 been holding yourself out as a police procedures expert | 6 — your opinion and they, as you say, didn't like what you
7 ~~ since 1994, is that correct? 7 had to say and they went elsewhere, correct?
& A. Well, that's when I had my first case. So, I guess, that | 8 A. Yeah, that's correct. Although, I don't know that it
9 would be a good number, It was actually some time after | 9 would be fair to say I give them my opinion. At that
10 —_ that when I started doing cases of this type. That first |10 early stage, it's usually just a first, I guess, you could
11 case was a criminal defense case and it was undertaken for |11 _—call it an opinion. It's a first reaction to the facts
12 an acquaintance, so -- 12 that they're telling me.
13 Q. Okay. Let's see. Going to -- 1 guess, just going to page |13 Q, Absolutely.
14 — 66, you told me that you've amended your CV, whichis /14 A. I also generally have a role that I've shied away from
15 fair. So now, it’s up to you have you testified as expert |15 _ plaintiff's work here in Michigan just because I knew so
16 —_ in deposition hearings or trial 52 times in 45 cases, |16 many chiefs, I worked with the insurance programs, I
17 ~—scorrect’? 17 didn’t want to setup a conflict situation or the law firm
1s A. Yes. 18 — on the other side might be representing, you know, the
19 Q. Those additional two times that you testified for in those |19 defense and I worked with them before on cases. So I tend
20 cases were those plaintiff's case or defense cases? |20 to shy away from plaintiff's work in Michigan, but other
21 A. They were defense cases. 21 __ than that, it's just, you know, we discuss the case and
22 Q. Okay. So it looks like you have about 65 percent where |22 —_ usually what happens if I -- if I decline a case or if
23  —_-you testified as an expert for defense cases. Itmay bea |23 they indicate that I'm not going to be their guy, they'll
24. little higher now given those extra two cases, correct? |24 ask me for a recommendation for another expert and if I
25 A. That includes those two cases and I actually worked this |25 | know someone that I think might be able to help them, I'll
Page 22 Page 24
1 up yesterday and it comes out to 64.4 percent for defense, | 1 refer them.
2 Q. Okay. So that's, of course, the calculation that you have | 2 Q. Sure. And given that, I just want to make sure it's an
3 made adding those other two times, correct, in45 cases? | 3 accurate representation or percentage, you said over the
4 A, That's correct. 4 170 cases you've done since 1994, 75 percent of those
5 Q. Okay. Is there any particular reason why it seems like | 5 cases have been defense cases, correct?
6 the majority of your cases are for the defense versus | 6 A, Of the 170 plus cases, I've been consulted on since 1994,
7 plaintiff? 7 estimate is roughly 75 percent would be defense cases.
8 A. Many cases don't go to trial. [ don't end up having to | 8 Q, Okay. And, I guess, as a lawyer, I'm trained to hang on
9 testify. So as an estimate of the cases that I've 9 every word. I don't want to split hairs here, When you
1o actually been asked to work, it's roughly 170 plus about |10 — say more than a 170, can you tell me at all how much more?
11 75 percent have been defense related. There's no specific |21 And what t mean by that would it be over 180 or when you
12 _ reason for that. It's not uncommon for me to gefacall |42 say over 170, you're shooting for maybe 172, 173?
13 ‘regarding a plaintiff's case and once I discuss it with |13 A.I stopped counting. So somewhere over 170. I literally
14 counsel, they hire somebody else. Iam pretty free with |14 ‘cause I'm including, you know, if I'm been consulted, but
15 my time in terms of discussing cases with counsel when [15 — didn't do a report, if I've been consulted and they asked
16 they call me. Most often that has to do with taser |16 for a recommendation for a different expert, it's just
17 related cases, There's an awful lot of misinformation on |17 more common that -- it's more common that I get calls
18 the web regarding tasers and how they work, you know, what |18 — regarding defense cases because most of my work comes from
19 the process is, how they function, what they do. Soit's [19 attorneys I've worked with giving my name to some other
20 not uncommon for me to get a call from plaintiffs counsel {20 attorney. So it tends to feed on itself, I guess, would
21 that has a taser case, we discuss it, I provide them with [21 be a good way to put it. But I couldn't even begin to pin
22 information, and then they decide I'm not their guy |22 down. I just know it's north of 170.
23 because I can't -- my testimony wouldn't be helpful to |23 Q. Okay. And -- okay. So you would agree with me that an
24 their case. 24 — individual who is handcuffed behind their back cannot use
25 Q. Okay. It's fair to say, sir, that you probably received |25 _ their hands or arms to support themselves if they fall,

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i correct? 1 individuals that are particularly agile can quickly move
2 MR. PADDISON: Objection te form. 2 the cuffs around in front of their body. Officers can be
3 A, I would agree that that would be a typical situation | 3 or individuals can be assaulted by somebody kicking or
4 absent some unusual capability that a person has twisting | 4 —head-butting. Somebody running away is resisting. So in
5 sideways and falling on their elbow or something, but | 5 simple fact that someone is handcuffed doesn't mean that
6 generally, if they they're handcuffed behind their back, | 6 they're fully controlled or prevented from taking some
7 they're not going to be able to bring their hands forward | 7 action.
8 to break their fall, 8 Q. Okay. But overall, I'm just asking, with regard to Stacy,
9 Q. (BY MS. DeROUIN): Okay. And in general when yousay | 9 generally speaking, and absent any type of special
10 = absence of'a exigent circumstances or whatever you were |10 — circumstance that you name me, when an officer ceases an,
11 saying if they were to fall on their side and they would |11 —_ individual, puts them into custody, they do a proper
12 still possibly more than likely could sustain an injury (12 handcuffed behind their back, at that point, they have
13 _ because, of course, they would be hitting their elbow just |13 that responsibility to protect that individual because
14 slike you gave me an example, correct? 14 they no longer can use their arms and hands, the arrestee,
15 A. I don't know that they would be injured. A lot of people |15 correct?
16 fall and aren't injured. 16 A. Well, I think they have a general responsibility for the
17 Q. Okay. 17 _— person's safety.
18 A. So yeah, the simple fact that they're handcuffed behind |18 Q. Sure. Because --
19 their back doesn't mean that they can't somehow contro] |19 A. Whether --
20 part of their fall, you know, depends on how they twist |20 Q. Go ahead.
21 __ their body or how agile they are or, you know, any ofa |21 A. Whether it's because they handcuffed them behind their
22 dozen other variables that could come into play. |22 — back or whether it’s just they're in custody, pardon me.
23 Q. Okay. But certainly if their hands were free and their |23 Q. Well, if they handcuff them behind their back, you would
24 arms were free, they would be more apt or definitely able [24 agree with me that they -- say the officer took away the
25 to use those hands or arms to catch themselves ifthey |25 arrestee or that individual's opportunity to protect
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1 were able to fall, correct, whether sustaining an injury | 1 themselves such as from a fall because they can no longer
2 or not? 2 use their arms and their hands, correct?
3 A. 1 would say many times they probably would be able to | 3 A.Idon't really disagree. I'm concemed about putting too
4 — somehow break their fall by using their arms or their | 4 — much of a straight jacket on my statement. I guess, my
5 hands. 5 statement stands that an officer — once someone is ceased
6 Q. Okay. So essentially, would you say that the handcuffs | 6 and in the officer's custody, the officer has a
7 immobilize the handcuffed individual's arms and hands, | 7 —_ responsibility for the person's safety, whether it's
a correct? 8 because they've handcuffed them or whether it's because
9 A, If they're properly handcuffed, they - the whole pointof | 9 they're just in their custody or whether it's because of
10 _ being handcuffed -- pardon me, The whole point of being |10 where they placed them.
11 handcuffed is to immobilize the hands so if they're |11. Q. Okay. In general, let me ask you this. If an officer
12 properly handcuffed, to a certain degree, their hands are |12 —_ places an individual who is super drunk in their custody
13 = ina obilized, that's the whole point. 13 —_ and control, they cease them, they've arrested them,
14 Q. Sure. And once a police officer ceases an individual, |14 they've properly handcuffed them behind their back and if
15 they properly handcuff them behind their back, that |15 they are escorting that individual down from a sally port
16 _— officer has a duty or responsibility to protect that |16 | down to the booking station and they notice that
17 _—_ individual because he or she took away their inability to |17 individual having trouble walking, stumbling, they may
18 —_s use their arms and hands, correct? 1s _—_ fall, does that officer have a responsibility to that
19 A. I would say that when a person is ceased and in custody, |19 person's safety to ensure they don't fall because given
20 the officer has a responsibility for that person's safety |20 that they cannot protect themselves from falling because
21 absent some extenuating circumstance. 21 their arms and their hands are handcuffed behind their
22 Q. Okay. Can you give me any examples of any extenuating | 22 back?
23 ~—s circumstances? 23 A.I think we're saying the same thing. In your particular

24 A. Well, there may be cases where officers have been |24 —_ hypothetical, an officer, I would say, has a
25 assaulted by people that were handcuffed. Some |25 responsibility to do whatever they can do reasonably to
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1 prevent the person from falling, whether they're 1 —_-you, I did reference the 48 prior pages. Those statements
2 handcuffed behind their back or not. 2 are opinions, your general opinions are listed on page 48.
3 Q. Okay. If you wouldn't mind, sir, if you couldiook to | 3 I guess, all I'm asking you, sir, and I know you said you
4 page 48 of your report. It's under your opinions. 4 _ believe you read the dep transcript of Katsaris and 1 know
5 A. Okay. 5 you read his report because, of course, you rebutted his
6 Q, Okay, Sir, and I see your opinions are identified as, | 6 — report, so to speak, in your report, correct?
7 excuse me, paragraph one, two, three, and four under the | 7 A. That's correct, yes.
8 Section No. 19 opinions. Do you see that? 8 Q. And I'm just asking, sir, as you sit here today, driving
9 A. Yes. 9 ~~ well, you probably didn't drive anywhere, but maybe you
10 Q,. Do you have any other opinions related to this case other [10 did. But just thinking before you gave testimony hey,
11 than those found on page 48 that's under the opinion |11 _ there might be something else I don't agree with with Mr.
12 section? 12 _ Katsaris or I may have read something differently in a dep
13 A. These are the general, I guess, what you would consider |13 and I have a different opinion on this, that's all I'm
14 capstone opinions. There are various statements |14 asking. I'm asking for any opinions besides the opinions,
15 throughout the report that take on the tone of that |15 if you want to call it statements in your report, do you
16 opinion in various elements. So these are the primary |16 have any additional opinions to offer us today?
17 ~—s opinions that result from the whole analysis, but I'm sure |17 A. Nothing that I can think of, no.
is elsewhere in the report, there are statements that [18 Q, Okay. And why I ask that I'm not -- I'm definitely not
19 —_ essentially are opinions perhaps some sub element. |19 _here to trick you into saying ah-ha, I found something.
20 Q. Okay. So how I understand it under Section 19 opinions, |20 —_I'm just going to ask you questions about those opinions.
21 you have four opinions, those are your general opinions in |21 So right now I'm prepared to go forward with the opinions
22 this case, correct? 22 that are in your report, okay?
23 A. That's correct. 23 A. I understand, yes.
24 Q. And, of course, others in the prior previous 47 pages of |24 Q. Okay. Okay. This case does not involve a deadly force
25 ‘your report approximately, you note things as far as in | 25 encounter, right?
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1 the in instant case and italicized and you kind of give | 1 A, That's true, yes.
2 some statements about your line of thinking analysis, | 2 Q. Okay. And it looks to me that Mr. VanPelt the evidence
3 correct? 3 supports he was initially stopped for a traffic stop for
4 A. That's correct, yes. 4 tinted window, do you agree with that?
5 Q. Sure, And I would assume those statements within the | 5 A, That's my understanding, yes.
6 prior 48 pages of your report is what you're saying | 6 Q. Okay. And then the traffic stop then led to the crime
7 support your general opinions found on page 48, correct? | 7 involving narcotics possession, correct?

a A. Yes. 8 A. That's my understanding and there were a number of traffic
9 Q. Okay. And I just want to make sure, other than what'sin | 9 — warrants, also he didn't have a driver's license, I
10 —- your report, the 48 pages prior to page 48, excuse me, and |10 _ believe, those were all things that Officer Layne listed.
11 then also the main four opinions found on page 48, do you {11 Q, Okay. Anything else you recall? We have narcotics
12 have any other opinion on this case at all? 12  —_ possession, traffic warrants, and no driver's license and

13 A. I'm not sure how fine a point you're trying to puton |13 tinted windows.

14 that, Counselor. There are statements in my report |14 A, When they ran the plate, it came back on a different
15 _—_ regarding -- one example comes to mind is Mr. Katsaris' |15 vehicle. So there was some question about, you know,
16 — statements about officers are all trained not to tackle |16 — ownership of the vehicle whether it was possibly a stolen
17 ~~‘ people that are handcuffed, officers are all trained to |17 ~~ vehicle or not.

18 grab somebody by the handcuffs. There are -- [have |18 Q. Okay. Anything else that you can recall, sir?

19 statements in here essentially saying that's not true. So [19 A. Not offhand.

20 ~—sif you're trying to put that fine point on it, then yes, |20 Q. Okay. So we have traffic citations, we have narcotics
21 __ there are other statements throughout the report that |21 possession, and traffic warrants. Would any of those, in
22 reflect facets of my opinion, but collectively when all |22 | your opinion, be a violent crime or crimes?

23 that is considered, you know, these are the general |23 A. Weil, they're crimes. I don't think you would consider
24 opinions, 24 ‘them violent crimes.

25 Q. Sure. And I understand it and that's why in fairness to |25 Q. Correct. And a narcotic possession certainly wouldn't be

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1 deemed as a violent crime, correct? 1 thing. So unfortunately, a lot of officers don't do as

2 A. Generically speaking, I wouldn't consider ita violent | 2 — thorough a pat down as they should when they're making an

3 crime if it was a sufficient quantity to indicate intent | 3 arrest.

4 to deliver, you know, that would indicate that you're | 4 Q, So -- okay.

5 dealing with a drug dealer. So depending on how you want | 5 A. And that's what I meant by a cursory pat down.

6 to extrapolate that out to your concept of a violent | 6 Q. Okay. You saw where Defendant Layne patted Mr, VanPelt's

7 crime, but if I understand your question, you're asking | 7 legs and it was the outside and then the inside up to his

8 about things that would present an immediate threat, you | 8 crotch area and then around his waist and then he did his

9 know, during the arrest and I wouldn't consider it at that | 9 upper body, right?

10 _— point to be a violent crime. 10 A. I don't recall specifically all the details of it, but it

11 Q. Sure. Related to this case, correct, based on what you |11 ~— was -- it was a roadside pat down.

12 told me about he was pulled over, Mr. VanPelt was pulled |12 Q. And it sounds to me that you're taking issue with how

13 _ over for tinted window, he did have traffic warrants, he |13. Defendant Layne patted Mr. VanPelt down in the first

14 ~— didn't have a driver's license to present, there was an |14 _ place, is that true?

15 _—_ issue with the plate being on a different vehicle, and |15 A. I'm saying generally that officers have a tenancy to

16 _—_ then a narcotics were found on him. Based on those |16 — sometimes do those kinds of quick pat downs by the

17 _ findings and those alleged crimes and Mr. VanPelt |17 —_ roadside. If there's an indication that the person is

18 committed, you would agree with me that those were not |18 hostile and resistant, then the search incident to arrest

19 ~— violent at the time, correct? 19 = may be a little more therough. If there's an indication

20 A. That's true, yes. 20 that the person is docile and compliant, then there tends

21 Q. Okay. Also too, I know you reviewed the evidence andI {21 to be a, you know, a quicker pat down.

22 saw the list of evidence you reviewed in this case and in |22 Q. Okay. With regard to this video and the pat down, you

23 the back of your report. You seen that Mr. VanPelt was |23 were able to see Mr. VanPelt and Defendant Layne, correct?

24 patted down twice prior to this incident, correct, and the |24 A. Yes,

25 —_ incident being we'll just call it the running incident and |25 Q. And you were able to see Defendant Layne through the pat
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1 _ the tackle, okay, that's what I'm talking about? 1 down as you just told me about, correct?

2 A. I know there was a cursory pat down during the arrest | 2 A. Yes.

3 process, 3 Q. And in that video viewing when the pat down was taking

4 Q. Okay. And you saw that on the video, correct? 4 place by Defendant Layne upon Mr. VanPelt, did Mr, VanPelt

5 A. Yes, 5 make any reaction to you that would give you a -- give you

6 Q. Okay. And that's the pat down you're referring to? | 6 an opinion or lead you to believe that Defendant Layne had

7 A, Yes. 7 ~~ to not do such a thorough pat down based on how Mr.

8 Q. And then you calf that a cursory pat down? 8  VanPelt was acting?

9 A, Yes. 9 A. I'm not clear on your question. Can you restate that for
10 Q. Are you making a distinction between a cursory patdown [10 me please? Are you still there? (ZOOM DIFFICULT TES).
11 and a pat down or are we talking about the same kind of | 11 (Off the record at 10:49 a.m.)

12. = pat down? 12 (Back on the record at 10:52 a.m.)

13 A. We're talking about a typical side of the road quick pat 113 (Record read back at 10:5 a.m.)

14 down for weapons, but we're not talking about a really {14 THE REPORTER: And in that video viewing when the
15 thorough search where something else could be concealed. {15 pat down was taking place by Defendant Layne upon Mr.
16 Q. Okay. A search incident to an arrest, would a cursory pat }16  VanPelt, did Mr. VanPelt make any reaction to you that
17° down be performed or a thorough pat down, as you say, {17 would give you a — give you an opinion or lead you to
18 would be performed? 18 believe that Defendant Layne had to not do such a thorough
19 A. Well, in my experience, an awful lot of roadside arrest }19 pat down based on how Mr. VanPelt was acting?
20 related pat downs are not thorough enough, They tend to |20 Q.(BY MS. DeROUIN): And J guess I would make one change.
21 be kind of quickly done and there's -- that's the -- |21 That he couldn't do, Defendant Layne couldn't do a
22 that's my perception of what was done here. You know,a |22 complete or thorough pat down based on how Mr. VanPelt was
23 thorough search would involve places on the body where |23  —_— reacting from what you saw?

24 things could be hidden that, you know, wouldn't [24 A. From what! saw, I didn't see anything on the part of Mr.
25 necessarily present as big bulges in the waistband sortof |25 | VanPelt that would indicate that he was -- at that point
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1 _ that he was resistant or non-compliant and soTdidn'tsee | 1 circumstances in this case, you would agree with me, just

2 anything there that would, in my opinion, would indicate | 2 as you told me, Mr. VanPelt was compliant, he was

3 Officer Layne that he either couldn't do a thorough pat | 3 non-resistant, he was not trying to evade or anything

4 down or that he needed to do a more thorough patdown | 4 — along those lines at the time that he was being patted

5 based on VanPelt's actions. VanPelt seemed cooperative | 5 down by Defendant Layne, correct?

6 and compliant right up to the point where he broke away | 6 A. I agree with that, yes.

7  ~=©and ran, 7 Q. Okay. And at that time, Defendant Layne then had the

8 Q. Okay. In general in your years of experience and | 8 — opportunity to doa thorough and complete pat down if he

9 training, and I know you were an officer, I believe, for | 9 so choosed, correct?

10 15 years, if I'm short cutting that, I'm sorry, [thought {10 A. Yes.

11 [read that somewhere, are officers -- law enforcement |11 Q. Because during that pat down as well, we'll add one more

12 officers trained when they make a search incident toan [12 _ thing to it, Mr. VanPelt was handcuffed, correct?

13 arrest at a traffic stop, are they trained to do a cursory |13 A. I'm not sure if the pat down started before the

14 pat down before allowing the individual in the car, the |14 —_ handcuffing, but he was handcuffed during the pat down,

15 —_ arrestee in the car, or are they trained to do a thorough |15 yes.

16 pat down for weapons before they put the individual in the [16 Q. Sure. Okay. So given those circumstances, the totality

17 car? 17 ~—sof circumstances based on Defendant Layne and Mr. VanPelt

18 A. Well, they're trained do it -- it's a generic term you're {18 in that moment of the pat down, is it your opinion that

19 —_using, but, I guess, I would say everybody thatI trained [19 that pat down was thorough and complete?

20 ~~ to doit, T train them to do a thorough pat down. That |20 A. Well, it's my opinion that Officer Layne probably felt it

21 — doesn't mean that years later based on their experience [21 was thorough and complete, but then once the takedown

22  — and their assessment of a particular situation, they won't |22 occurred, there was other evidence that was found that

23 shortcut the process or, you know, do less of a thorough {23 wasn't found during the pat down.

24 pat down than they would if they were in my class andI }24 Q. Okay.

25 was grading them on the pat down. 25 A. So that, you know, I'm not sure how else to say that.
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1 Q. Okay. And based on what I just understand your opinion | 1 Q. Okay. During Defendant Layne's pat down, the pat down we

2 that you believe Defendant Layne in this patdown | 2 were just talking about, were any weapons found on Mr.

3 situation on his own accord, took a shortcut or with | 3 VanPelt's person?

4 _ regard to doing a thorough pat down? 4 A.J don't think there were any weapons. I don't recall

5 A. No, I'm not saying that. I'm not saying he didn'tdoa | 5 anything,

6 thorough pat down. 6 Q. Okay. And there were no weapons found on Mr. VanPelt's

7 Q. Okay. 7 car as well, correct?

8 A. What I'm saying is that when a suspect is compliant and | 8 A. I don't recall that, but I don't believe there were.

9 apparently cooperative and docile, that it's not uncommon | 9 Q. Okay. No one testified to finding any weapons, whether
10 _ for officers, especially experienced officers during the [10 _ that be Officer Bennett or Defendant Layne finding any
11 daytime to, you know, on a bright, sunny day ona |11 weapons in Mr. VanPelt's car, did you see that at all?
12 __ residential street where nothing looks threatening to doa |12 A. I don't recall anybody testifying of finding weapons in
13 = quick pat down, put the cuffs on, you know, take them away |13 the car.

14 kind of situation. T guess, the only point I'm trying to [14 Q. Okay. So let's just say -- let's just say is it safe to

15 make is that doesn't mean that it wasn't -- it doesn't |15 assume if Mr. VanPelt did not run, he did not leave where

16 mean that there was not the possibility of something else |16 — he was supposed to be, after Defendant Layne’s pat down of
17 being concealed on Mr. VanPelt even though he was patted {17 = Mr. VanPelt, if Mr. -- yes, if Defendant Layne's pat down
18 down and we saw that after the takedown when another bag [18 of Mr, VanPellt, if Mr. VanPelt did not run, it would be
19 of drugs was found that wasn't discovered during the {19 safe to assume Defendant Layne would have put Mr. VanPelt

20 ~— initial pat down. 20 in the back of his police car, correct?

21 Q. Yeah, we'll definitely get to that, but I mean, given the |21 A. He was going to put him in the car. I'm assuming he was
22 set of circumstances in this case instead of any -- and] |22 — going to put him in the back, yes.

23 don't want to go into any hypotheticals I'm sure you've |23 Q, Okay. And what I mean by that, sir, and nothing -- yeah,
24 seen in your years of law enforcement training for expert |24 go ahead, Get some water.

25 review. Given the situation the totality of the 25 A. Go ahead.

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1 Q, Nothing in your training, years of experience, teaching, | 1 pants even being handcuffed, they could possibly be
2 being a law enforcement officer would formulate an opinion | 2 reaching for a weapon, correct?
3 that if Mr. VanPelt did not run before Defendant Layne | 3 A, They could possibly be reaching for a weapon if an officer
4 placed him in his police cruiser, that he hadto do | 4 — saw that, yes,
5 another pat down, correct? 5 Q. Okay. So other than, I guess, let me ask it this way,
6 A. I'm not clear on your question. I'm sorry. 6 With regard to that when you say Layne could not be
7 Q, Sure. I can reword it. We just talked at length Mr, -- | 7 certain if VanPelt was armed or may have additional
8 Defendant Layne's pat down of Mr. VanPelt, correct? | 8 — contraband or a weapon secreted elsewhere on his body, we
9 A. Yes, 9 already talked about the pat down, we already talked
10 Q. And I'm just giving you a hypothetical. Let's say Mr. |10 about, I guess, the two pat downs. What evidence, if any,
11  =VanPelt did not run and the next step would be for [12 that you could see, when you reviewed this case, that
12 Defendant Layne to put Mr. VanPelt in his police cruiser, }12 © would formulate a belief in Layne that he could not be
13 whether that be in the front or the back, correct? [13 certain if VanPelt was still armed?
14 A, Yes, 14 A, I don't know that there wasn't -- was anything that would
15 Q. That would be the next step I'm trying to say? 15 — indicate that.
16 A, Yes. 16 Q. Okay. And then we talked briefly you told me after the
17 Q. Would there be any reason in that scenario for Defendant |17 incident already happened, Mr. VanPelt's on the ground,
18 Layne to do a second or third pat down of Mr. VanPelt [18 — and his pants were pulled down and Defendant Layne found
19 before he put him in his squad car that you could tell me? |19 more narcotics, I think, in between his buttock for lack
20 A, He might have wanted to, but I can't think of any reason |20 _— of a better word, that's what you were referring to,
21.  whereI would say he should have. 21. ~—scortect?
22 Q. Okay, Okay. Going to page 33 of your report, sir. |22 A. Well, I don't know that Layne actually pulled the pants
23 A, Allright. 23 down. They were -- you know, his clothing was moved, the
24 Q. And it's under the in the instant case, I know you talked |24 bag fell out. I know there was an allegation that he put
25 —_ about statements earlier that may derive your opinions. I |25 —_ his hand in between Mr. VanPelt's buttock and, but I don't
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1 = want to look at this on page 33, which starts offand | 1 believe the video showed that.
2 italicized in the instant case. I'm just going to -- 2 Q. Okay. I guess, all I'll trying to say, sir, is there was
3 although he had been patted down, Layne could not be | 3 no weapons found on Mr. VanPelt after the extra bag of
4 certain if VanPelt was armed or may have additional | 4 narcotics was found, correct?
5 contraband or a weapon secreted elsewhere on his body, | 5 A, As far as I know, there wasn't, no.
6 period, end quote. Do you see that? 6 Q. Okay. And, of course, if there had been, you would of
7 A, Yes. 7 probably noted that in your report, right?
8 Q. Are you referring to any kind of weapon that you could | 8 A, If it was in the documentation for the case, I would of
9 tell me about in that - when you make that statement? | 9 noted it, yes.
10 A. No, just a weapon in general, 10 Q. Okay. I take it, and I just want to ask, I have to ask
11 Q. Okay. You can't make a distinction you're referring toa [11 _ for the sake of foundation purposes, are you familiar with
12 ~— knife or a gun or anything along those lines or similar? |12 PPCT training?
13 A. No, 13 A. Yes.
14 Q, Did you see any evidence in this case when Mr. VanPelt was [14 Q. Okay. And that would stand for pressure point control
15  —_ attempting to runaway or when he was running away from |15 tactics training?
16 Defendant Layne while he was handeuffed behind his back if |16 A. Yes.
17 he was trying to reach at all in his pants at all? 17 Q. Okay. Am I correct that there's nothing in the PPCT
1g A. I don't recall seeing anything like that, no. 18 _ training that allows for an officer to tackle from behind
19 Q. Okay. And if you had, you would of put that in your [19 — with both of the officers' feet leaving the ground while
20 report, correct? 20 the individual has been patted down and handcuffed running
21 A. I'm sure I would have. 21 and has committed a non-violent crime?
22 Q. Okay. ‘Cause if some -- I mean, it could be in your years |22 A. I'm not --I don't recall anything in the PPCT training
23 of experience and as a law enforcement officer anda |23 that speaks to that one way or the other.
24 trainer and instructor, teacher at a university that if, |24 Q. Okay. So there's nothing that you would have in your
25 you know, an officer were to sce someone reaching intheir |25 possession with regard to PPCT training that would support

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1 what I just asked you, correct? 1 they don’t want to be moved to make them want to move, for

2 A. Well, there's nothing that I would have in my possession | 2. example, come-along holds and things like that.

3 that would also negate that either. 3 Generally, in the system — generally, in systems officers

4 Q. Okay. With regard to PPCT training, that's a training | 4 are not presented with a list of things to not do

5 guideline for officers, correct? 5 — generally.

6 A. That's actually a training program. 6 Q. Okay.

7 Q. Sure. 7 A. It's generally not the case that it's presented in that

8 A, A defensive tactics training program encompasses alot of | 8 form.

9 different aspects of resistance and control, 9 Q. Okay. But you would agree with me that an officer who
10 Q. For law enforcement officers, correct? 10 attends a PPCT training program would learn or is expected
11 A. For corrections officers, for private security, depending |11 to learn proper ways of approaching situations you just
12 on the -- 12 told me about, what the arrestee is doing and how the
13 Q. Sure. And it would certainly include law enforcement, |13  —_ officer can react, correct?

14 __— police officers, patrol officers, right? 14 A, That's -- I would say that's generally a fair statement

15 A. Ifthe officers were trained on PPCT. Not every [15 keeping in mind that the focus is not on what not to do,

16 department uses PPCT. 16 __ the focus is on what to do.

17 Q. Okay. But you're familiar with PPCT training probably in |17 Q. Sure.

18 all your years as a, you know, as a career police officer |18 A. And all of that. Let me just make sure that I underscore

19 and all your work done as well as expert work, correct? |19 that. All of that is cast in terms of how much time you

20 A. I'm generally familiar with PPCT training, yes. 20 ~—shave to do it, how much reaction time there are, and

21 Q. Okay. And you don't recall reading anything or being |21 certain things take a lot longer to do. This whole --

22 taught anything that allows for this type of takedown in |22 this whole flight incident took something like four

23 the circumstances I just read to you, correct? 23 seconds, so --

24 A. As I just testified, I'm not -- I don't recall anything |24 Q. Yep, and I understand. Weill definitely get to that in a

25 that allows for it and I also don't recall anything that |25 second, but all I'm asking with regard to PPCT training
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1 sis preventative of it. 1 program in general, that is a training program that

2 Q. Are you aware of any -- okay. So you're saying you don't | 2 teaches officers or you would expect to have officers

3 recall anything that allows for it or prevents it? 3 learn on how to properly approach situations, whether that

4 A. That's correct. 4 be by on how the arrestee reacts, correct, and what

5 Q. Within the pressure point control tactics training 5 technique, I'm just generally speaking, what technique or

6 program, are there specific, [ guess, procedures, tactics | 6 -- yeah, what technique or maneuver that officer could

7 procedures, that are stated like shown to the officers | 7 respond to based on how the arrestee is acting, correct,

8 whether they have to read those or they're exhibited by | 8 — is teaching an officer what to do in a certain

9 demonstration that they say these are tactics you cannot | 9 circumstance, correct?

10 do? 10 A, Yes, Toa certain degree, but and also, you know, it's an
11 A. The only thing that comes immediately to mind wouldbe |11 infinite number of situations that can evolve. So it's
12 things related to choke holds and things like that. And /12 not nearly as -- it's not cast in concrete as much as you
13 typically when those are presented to officers to castin |13 seem to be saying with your question. It's -- they're
14 the form of these are things you shouldn't do unless it's |14 very dynamic fluid interactions. So not every possible
15 a deadly force situation. 15 methodology or tactic is covered because not every
16 Q, Sure. 16 = possible methodology or tactic can be covered. They're
17 A. But in terms of techniques that officers are taught, |17 infinitely possible if that makes sense.

18 generally, and not just in PPCT, but in other systems as |18 Q. I would take it the PPCT training program does teach on
19 well, techniques are taught as these are proactive things |19 officer takedowns, correct?

20 you can do when a person resists, these are things you can |20 A. There are various takedowns that are presented in PPCT as
21 do when a person tries to strike you, when a person tries |21 well other programs.

22 to choke you, when a person tries to knock you down. |22 Q. Okay. And a takedown can also be another word for tackle,
23 = These are things that you can do as a technique to counter | 23 correct?

24 those kinds of things. There are also types of techniques |24 A. Takedown, I guess. More typically takedowns that are
25 —_ and tactics that are taught as a way to move someone if'|25 taught are things like arm-bar, joint lock, leverage sorts

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1 of things. 1 whether it was reasonable or acceptable for an officer to
2 Q. Okay. Does the PPCT training at all teach as far as with | 2 tackle an individual who's already been patted down,
3 regard to a tackle on how an officer could tackle? | 3 handcuffed from behind by the officer lunging with his
4 A, Not that -- 4 feet off the ground?
5 Q. To your knowledge? 5 A. I couldn't even begin to recall that level of detail. I
é A, Not to that I mean aware of, no. I'malso notaware-- | 6 have no recollection that that was -- I've never seen that
7 I'm also not aware that it addresses that you should not | 7 — taught in anything.
8 tackle them. I don't recall that it's specifically @ Q. And, of course, I know you're familiar with the [ACP
9 addressed, 9 training keys?
10 Q. Okay. So a person who has their hands behind their back, |10 A. Generally, yes.
11 = you would agree with me they can't run as fast as an [11 Q. Okay. That's those International Association Chiefs of
12 individual whose hands are free from cuffs, right? |12 Police training keys?
13 MR, PADDISON: Objection, speculation, you can [13 A, Yes.
14 answer. 14 Q. Okay. I guess, I should ask and I don't mean to maybe
15 A, I would say as a general rule of thumb, that's probably |15 you're not. There's other areas that you probably are
16 = true cast in context. You know, a young, agile individual [16 — well versed in, but I'm asking with regard to the LACP
17 ~—_can probably still run faster than an older, less agile [17 training keys, are you well versed in those trainings
18 _ individual that's all loaded down with equipment. So put |18 —_— keys, sir?
19 ~— in that context, but if you were to time somebody |19 A. Not without looking stuff up, no.
20 sprinting with and then without being handcuffed, probably |20 Q. Okay.
21 they would be faster without the handcuffs simply because | 21 A. Many of the training keys are outdated and haven't been
22 they can move their arms and do that, you know, pumping |22 updated in a long time. ,
23 = running sort of motion. 23 Q. Okay. So ifI--
24 Q. (BY MS. DeROUIN): Sure. And just sticking not compare |24 A. I have --
25 —_ ages young to old or an individual young, agile person to |25 Q. Go ahead. I cut you off.
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1 what you said an older weighed down person, but in | 1 A. I was just going to say I have them all and, you know, if
2 general, as I understand your testimony correctly, | 2 I nced something, I can look them up, but 1 don't have
3 sticking to a young, agile individual, they --it'smy | 3 them at the front of my memory at this point.
4 understanding that that particular person, they would run | 4 Q. Okay. So if I were to ask you whether or not the training
5 faster if they were not handcuffed based on how they could | 5 keys on use of force allow a takedown by tackling from
6 use their arms and so forth, is that your understanding? | 6 — behind with both of the officer's feet leaving the ground
7 A. would say that's generally a true statement, yeah. | 7 — while the individual has been patted down already and
8 Q. Okay. Have you ever taken a street survival course | 8 handcuffed, he's running and he's committed a non-violent
9 offered by Caliber Press at all? 9 crime, would you say that you saw that in there or not in
10 A. Many years ago, yes. 10 _— the keys, if you can give me one way or the other?
11 Q. Okay. When you say that in general, would that be more |11 A. I've never seen that to that level of specificity
12 than 10 years, 20 years, closer to when you started your |12 anywhere. And I would be really surprised ~ I guess, the
13 clear as an expert witness or can you tell me when? |13 — direct answer to your question is no. I don't remember
14 A. I would have to say it was early ‘90s maybe. 14 seeing that in the training keys. If somebody stuck it in
15 Q. Okay. Would it have just been one course, sir, in your |15 —_ front of me and said there it is right there, I would say
16 career or is it something you may go to every couple years |16 okay. But in general, I would be very surprised if the
17 ~—sor anything like that? 17 _—_—sTACP training keys, model policies, or the white papers
18 A. Are you talking about the Caliber Press Street Survival |18 define that as quote-on-quote something not to do,
19 => Seminar? 19 especially of that level of specificity, that's just
20 Q. Yes, sir. 20 ~— generally not the way those documents are cast.
21 A. I think I only went to it once. I don't recall going to {21 Q. Okay. And what Pm asking is you're saying the training
22 = ita second time. 22 keys, you would be surprise the training said that's what
23 Q. Okay. Do you recall at all when you went to that course [23 not to do. It's certainly, from your experience of those
24 or conference did the lead use of force instructor who [24 training keys, it’s certainly something that the training
25 taught the conference, did he talk one or the other |25 keys don't teach what could be done or what would be
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t allowed, correct? 1 it or it's okay to do it, whether it be ILETTA
2 A. Right. I don't -- [have not seen it, especially fo that | 2 conferences, PPCT, NTOA, IACP guidelines or anything else.
3 level of specificity either way, either never do thisor | 3 Materials that are written for officers in the way that
4 it's okay to do this, Just not typically addressed in | 4 — you're talking about generally do not drill down to that
5 those kinds of documents. 5 level of specificity on any kind of tactic. They're
6 Q. Are you familiar at all with NTOA? 6 usually casted a more general level of specificity to
7 A. I'm generally familiar with what it is, 7 ~~ allow officers the flexibility to do things in the field
8 Q. The National Technical Officer Association? 8 with the exception of certain things like I talked about
9 A. Yes. 9 with choke holds and things that would be considered
10 Q. Okay. And how are you familiar with that? 10. ~—_ deadly force.
11 A. Just I'm familiar with the fact that it exists, I've read |11 Q. But you would also agree with me that ne academy in the
12 some of the materials years ago when I was engaged inthe [12 country would teach that as well, correct?
13 initial TSA airport screener training and NTOA was |13 MR. PADDISON: Objection as to form, calls for
14 coordinating it, So Tinteracted with some oftheir |14 speculation, you can answer.
15 people. I know a lot of tactical officers that belong to [15 A. I'm not familiar with any academy that teaches to do it or
16 it, so-- 16 _ that teaches not to do it and J then formally surveyed
17 Q. Okay. I know you said you read some of the materials. |17 dozens of trainers and coordinators and police academy
is _—_— I'm just going to ask again do you know if this 18 —_ attorneys and other master instructors both in my personal
19 —_ association trains it's squad officers to tackle someone {19 — acquaintance as well at the national conference I was just
20 = from behind with their feet leaving the ground while the |20 at, I've informally surveyed them regarding the issue of
21 individuals been patted down and handcuff and on therun? {21 _ tackling either it’s okay to do it or you should never do
22 A. {don't know whether they teach to do that or not todo |22 it and the other point that Mr. Katsaris brought up, which
23 that. 23 is grabbing somebody by handcuffs and pulling back to stop
24 Q, We already talked about your familiarity and your |24 — them. And out of all those individuals, probably close to
25 membership with ILETTA, correct, earlier on in the |25 a hundred people, no one had ever heard of either one of
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1 = deposition? 1 __ those things in the way that Mr. Katsaris presented it
2 A. Yes. 2 saying everybody knows this. Apparently, in my
3 Q. And it looks like you attend ILETTA conferences, as youin | 3 experience, nobody knows that except Mr. Katsaris.
4 just did, and I'm so sorry. You just did last month, | 4 Q. (BY MS. DeROUIN}: Okay, With regard to the survey, back
5 right? 5 _ that up, was it -- what type -- was it a formal survey you
6 A. Yes. 6 did or just a survey you did on your own? Like I'm saying
7 Q. Okay, And it looks like from your CV, you've attended | 7 is there somewhere | can find that survey or you can
8 them in the past, in, I believe, in 1980 and so forth, | @ — provide me that survey, is it published work by you?
9 it's reflected in your CV, correct? 9 A. No, as I just testified, I did an informal survey.
10 A. Yes, I've only missed a couple including last year when we |10 Q. Sure.
11 ~~ didn't have one because of COVID. 11 A. Of individuals, I staried out back at the time -- before I
12 Q. assume that. So they're annual conferences, right? |12 wrote my report, calling around the country various
13 A. Yes. 13 individuals that I know are heavily involved and have been
14 Q. Okay. At any of those conferences that you satin orthe |14 for many years and police use of force training and
15 programs that were taught, do any of those that youcan [15 — analysis and then while I was at this conference last week
16 sit here and tell me, have, you know, specificity with |16 in Nashville, there were 80 some trainers in the room and
17 regard to tackle and takedown and allow for an officer to |17 — most of them, you know, in charge of training at a given
18 takedown somebody while they're on the run and handcuffed |18 police academy or whatever and informally, not for
19 behind their back, they've already been searched for |19 _ attribution to any of them, I asked has anybody ever heard
20 weapons and for allowing that officer to leave the ground | 20 of a training program or any kind of situation where
21 ~~ and tackle them? 21 officers are trained to never tackle a running suspect
22 A, Maybel can save you some time. In answer to your |22 — who's been handcuffed behind their back or instead of
23 question as well as anticipating further questions, Ihave |23 tackling them, to grab their handcuffs and pull back on
24 never seen anything anywhere that drills down to that |24 them and they all had the same reaction. And I-- you
25 level of specificity regarding a tackling either never do {25 — know, I had never heard of it anyplace and I wanted to

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1 make sure that I was accurate in my assessment that it's | 1 couldn't even tell me sitting here the 84 people’s names
2 just not the common knowledge as Mr. Katsaris implied that | 2 or phone numbers or anything like that where Mr. Katsaris
3. itis. 3 or myself could fact check that and speak to them,
4 I also did a review of the State of Florida | 4 correct?
5 department of law enforcement high liability training | 5 A. That's true.
6 program that they presented in the police academies in | 6 Q. And when you took that poll, was it just by a show of
7 Florida since at least 2011 looking for anything in | 7 hands, did you just ask the question by a show of hands
8 reference to those two points and there's nothing, The | 8 can you tell me any information on this or what could —
9 reason J picked the State of Florida is because where Mr. | 9 you know, how did you get this information with these 84
10 Katsaris is from, so -- 10 people?
11 Q. Okay. With regard to your informal survey that you've |11 A, Okay. As I testified, it was just an informal poll, I
12 done at the conference last week, that's the ILETTA |12 asked the group is there anybody in here that's ever heard
13 ~—conference, right? 13 ~— of this, and nobody indicated that they had.
14 A. No, this was the certified use of force instructor slash |14 Q. Okay.
15 analyst conference that I was talking about. 15 A, I said is there anybody here that's ever trained this or
16 Q. Earlier. Where was that held at? 16 knows anyplace where this is trained, the concept is Mr. |
17 A. That was in Nashville and it was just this past week. The |17 — Katsaris said this is common information, everybody knows
18 ILETTA conference was a couple weeks prior tothat. [18 this. I didn't know that and so far, I haven't found
19 Q. Yeah, in March, right, roughly? 19 —_ anybody else, except Mr. Katsaris, that says everybody
20 A, Yes. 20 knows this. So I wanted to -- again, I wasn't trying to
21 Q. Okay. But when you took the survey of the individuals at |21 do this for attribution. I was trying to make sure that I
22 the conference, you're, of course, talking about the |22 was correct that I've never heard of that and I've been
23 certified instructor conference in Nashville? 23 ~— doing this a long time and nobody else that L have asked
24 A. That's correct. And again, it was an informal survey, |24 — about it has ever heard of it either.
25 there's nothing written or published about it. [just |25 Q. Are you intending, sir, to put this informal survey, the
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1 wanted to make sure I was being accurate. 1 results of your survey, and your analysis on how you
2 Q, But that's what I was going to ask you. This informal | 2 reached those results in writing at all?
3 survey, just as you say when you called around several | 3 A. Other than what's already in my report, no.
4 hundred people or a hundred people and various individuals | 4 Q. Okay. And you would agree with me the conference that you
5 across the country as well as asking or polling people at | 5 — attended last week when you polled those 84 people
6 this conference last week, you didn't reduce that to | 6 — approximately, that wouldn't be in your report from
7 writing, correct? 7 December, correct?
8 A. First of all, I didn't call around to hundred people. I | 8 A, That wouldn't be in my report in December. If 1 was asked
9 called probably 15 or 16 people that I personally know and | 9 about it at trial, questioned about it, which are basis
10 _ because T did know I was going to have the opportunity to |10 for making this statement, then I would probably reference
11 survey this conference. At the conference is where there |11 the informal poll I took at the conference just the way
12. ~—s-were I think 84 people in the room including me and |12 _ that I'm doing it with you,
13 because it just happened last week, there's nothing that] |13 Q. Right. Just what you told me, you couldn't tell a Jury
14 —_ reduced in writing regarding that. There isanoteinmy |14 — the names of any of these individuals, could you?
15 report about the informal survey of the initial 15 A. No.
16 = individuals that I contacted. 16 Q. You couldn't tell a Jury any of these individuals'
17 Q. Okay. But given that it's not in writing, there's no way |17 background, carcer background, correct?
18 = for myself or Mr. Katsaris to review these individuals |1a A. No.
19 their, you know, their careers, you know, where they're |19 Q. Okay. Is there anything that, as you sit here today, that
20 coming from, how many years of experience they had oreven |20 you think you could tell a Jury in order to identify these
21 their name for us to fact check, so to speak, correct, you [21 —_ individuals at all other than that they were present at
22 ~=would apree with me on that? 22 ~~‘ the same conference you were last week?
23 A, That's right. There is no list. 23 A. No.
24 Q, And I can only assume too when you did the poll at the |24 Q. Okay. And again, with that being said not being reduced
25 —_- conference of those approximate 84 people, you probably |25 in writing, you don't have any additional information to
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1 give me, that would be something that could not be fact | 1 does anybody teach that the best way to bring down a
2 checked as I say other than we're relying on what you just | 2 — running subject is to tackle them, and no, I didn't ask
3 told us, correct? 3 that specific question in that specific way.
4 A. Well, at the risk of being non-responsive, I guess, I | 4 Q. You would agree with me in order to get an informed
5 would say that I have just as much information about what | 5 opinion, whether that be at the conference or from an
6 — I think I know as Mr. Katsaris has when he says everybody | 6 — individual, it would be important to provide those
7 knows this. 7 individuals with the complete totality of the
8 Q, Okay. Can you tell me, sir, the best that you can, what | 9 circumstances in order for them to offer an opinion,
9 is the exact question that you asked at this conference? | 9 correct?
10 A, Best I can remember it was, and I'm paraphrasing. |10 A. I don't necessarily agree with that.
11 Q. Sure. 11 Q, Why not?
12 A. It would have been has anybody in here ever heard ofa |12 A. Well, first of all, I generally don't discuss details of a
13 training program where officers are trained to not tackle [13 case to that level. And secondly, I wasn't interested in
14 people that are running away when they're handcuffed |14 __ their assessment of the level of immediacy of the threat
15 __ behind their back and then the other part is has anybody |15 or anything. I was just focused on, you know, person's
16 in here ever heard of a training program or presenteda |16 handcuffed and they start running away, what about
17 — training program that would be included, I guess,has |17 tackling them, you know, I wasn't into — I wasn't -- I
18 anybody in here ever heard of a training program that |18 wasn't driven down to the level of making sure the
19 teaches that the way you stop a suspect that's running |19 officer's feet don't leave the ground and the other
20 away when they're handcuffed behind their back isto grab |20 caveats that you're applying to your question.
21 their handcuffs and pull back and the universal response |21 Q. Okay. Did you tell them whether or not the crime was
22  ~—- ~~ actually, the universal response was laughter, but you | 22 non-violent, if you remember?
23 got to be kidding me, why would anybody teach that, that's |23 A. I've already testified exactly what -- or to the extent I
24 dangerous typical comments. 24 can remember what I told them.
25 In fact, what I also know is that officers [25 Q, Okay.
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1 are generally, and this is part of the reaction I've had, | 1 A. I didn't discuss details of the case.
2 officers are generally taught to never grab the handcuffs. | 2 Q. Okay. That's fair. So based on what you told me, they
3 It's a good way for the officer to get injured and that's | 3 offered their informal opinion, correct?
4 been trained in law enforcement for decades. 4 A. That would be a fair statement. It wasn't so much that I
5 Q, Okay. So you asked the initial question if anybody was | 5 told them. It's more I asked the question has anybody
6 aware of a training program that teaches an officer not to | 6 ever heard of this.
7 tackle an individual while they are running away and | 7 Q. Okay.
8 behind with their hands handcuffed behind their back, | 8 A. And again, it was in the -- it was cast in the tone of,
9 correct? 9 you know, there's somebody else out here that's saying
10 A. Yes, and again, I'm paraphrasing, Counselor. I don't ;|10 everybody knows this, does everybody know this and the
11 remember the exact words. What I was trying to find out |11 response generally was you got to be kidding me.
12 __ is has anybody ever heard of a program that teaches this |12 Q. You mentioned that one of the issues you take with Mr,
13 or teaches not to do it or addresses it really in any way. |13  —_Katsaris saying an alternative use of force method would
14 But the response was -- has been universalin my [14 _ be stopping the individual by the handcuffs. I think you
15s experience. 15 _ said that it's because an injury may result to the
16 Q. Did you ever ask the question to these people atthe |16 officer. Do you recall that?
17 conference if they ever heard of a program that allows an |17 A, That's not quite what I said.
18 officer to tackle someone from behind while they're {18 Q. Go ahead then, nope, [ don't want to do it that way. I
19 handcuffed and allowing their fect to leave the air, |19 was just trying to speed this up, but that’s okay. What
20 meaning the officer's feet to leave the air? 20 ~—-- I'll just ask it this way, sir.
21 A, I wouldn't of — the answer to your question is no, And | 21 Please provide me each and every reason why
22 the reason is I wouldn't of asked a question with that |22 you take issue with Defendant Layne should not of grabbed
23 __ level of specificity because that’s not the way police |23 the handcuffed Mr. VanPeit as opposed to tackle him on the
24 training is done with all of those individual levels of |24 — ground.
25 — specificity added in. It would be more typical to say [25 A. Okay. Well, I said is that generally, officers have been

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1 trained over the decades to not grab somebody by the | 1 ‘Those seem to be two pretty good reasons for not doing it.
2 handcuffs because there's a potential for officers to be | 2 Q. Okay, Can you point me to any manuals, whether they be in
3 injured, you know, having fingers mangled or broken by the | 3 any of the organizations we already talked about or anyone
4 twisting of the handcuffs. So officers are just trained | 4 — that I have not mentioned, that state or address or
5 not to grab somebody by the handcuffs and then secondly, | 5 prevent an officer from grabbing handcuffs while a suspect
6 the idea of stopping a sprinting individual by grabbing | 6 is fleecing?
7 ~~ the handcuffs and pulling back has a significant potential | 7 A. No, I can't.
@ to injure the person that's running, dislocating the | 8 Q. You also mentioned, sir, your review of state of Florida,
9 shoulders, you know, a person with running momentum | 9 We talked about that. You told me what you did. All I'm
10 —_ grabbing the handcuffs and pulling backwards pulls their |10 asking is did you reduce that to writing at all?
11 arms up backwards and up the in air just has asignificant [11 A. Ihave not. That was all after my report was submitted.
12 potential to cause injury to the individual and that's |12 Q. So, again, the same kinds of question I have given that
13 also part of the responses I got during my informal survey |13 _ it's not in writing, do you intend to put it or reduce it
14 is wow, you would never do that, you would tear people's [14 — into writing to provide to me or Mr. Katsaris?
15 shoulder joints and, you know, those kinds of statements (15 A.I could. IfI was asked to do that, I could do that,
16  inresponse. 16 yeah.
17 Q. What if the individual was not running too fast and the |17 Q. And, I guess, in general since I don't have it and I don't
18 ~— officer deemed that he was kind of running slow, would |18 know what's being asked since I'm not the one that hired
19 that change your opinion about grabbing the handcuffs? |19 you, all I'm asking, sir, is, okay, can you tell me, since
20 A. I would say grabbing the handcuffs, especially grabbing |20 ‘I'm kind of at a disadvantage here, sir, there's nothing
21 the handcuffs and pulling back to stop the forward motion, [21 — reduced in writing other than I'm asking you questions
22 _—_ I don't know that it matters how fast a person's moving. |22 — today, which is my one time to talk to before trial, if
23 = If they're moving forward and you grab the handcuffs and |23 you were to put it in writing, what would I see or what
24 ~~ pull backwards, there's a potential for injury, 24 would J find in that of importance?
25 significant potential for injury. 25 A. I would probably restate my explanation of my informal
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1 Q. Are you talking about, just so the record's clear, officer | 1 survey adding in the informal survey I took at the
2 = injury, correct? 2 training conference to support my original statement and
3 A.No, I'm talking about injury to the suspect's shoulders, | 3 then I would probably spell out the specific manuals that
4 Q. Okay, 4 | reviewed from the state of Florida and the fact that
5 A, Shoulder holds by grabbing the handcuffs and pulling the | 5 none of them mentioned this everybody knows the --
6 arms back and that's kind of what happened to Senator | 6 — quote-on-quote everybody knows this stuff.
7 McCain when he was a prisoner in the North Vietnamese. | 7 Q. Sorry. About the tackle or about the handcuffing?
8 Q. You would agree with me that, we already talked about | @ A. Both.
9 this, when you tackle, if an officer were to tackle an | 9 Q. Okay. Go ahead. I didn't mean to interrupt you. I just
10 individual with their arms already handcuffed behind their |10 | wanted to make sure.
11 _ back, there's also potential of injury for the suspect, |11 A. Right. And I would probably spell out in my affidavit or
12 correct? 12 supplemental, whatever you want to call it, that this is
13 A. Well, there's always a potential for injury, yes. 13 _—_ additional support for my opinion and here's some
14 Q. Okay. Any other reason, sir, why you don't agree with Mr. [14 additional things I've looked at since my report, which,
15  Katsaris saying alterative use of force method or would be |15 — you know, further supports my opinion, doesn't change my
16 = to stop them by the handcuffs than what you've told me |}16 opinion, just further supports it and I would list the
17. about? 17 particular -- many of which are available online by the
18 A. Beyond the fact that doing it that way could create a | 18 way.
19 significant risk of injury to the person and the officers |19 Q. Can you provide me today, sir, any manuals you looked at
20 are trained, generally trained, to specifically not grab | 20 that you would put in this report, any titles of any of
21 ‘the handcuffs of an individual. 21 = them?
22 Q. Can you point me -- 22 A.I can tell you that the organization in Florida that
23 A. Offthe top of -- 23 ~— oversees law enforcement training at the state level is
24 Q. Nope, go ahead. Sorry. 24 — FDLE, or the Florida Department of Law Enforcement, and
25 A, Off the top of my head, I can't think of another reason. |25 they publish every year a set of manuals, which are the

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1 _ textbooks for the police academies in the state and Volume | 1 Q. Could not, that he was prevented in doing it that way or
2 ~—- TL of that set is called high liability anditaddresses | 2 — should not, both of them?
3 the defensive tactics, use of firearms, pursuant driving, | 3 A. Well, first of all, the short answer is no, I haven't seen
4 all of those typical topics and I've reviewed all of those | 4 — anything else that says -- I haven't seen anything that
5 manuals since 2011 except, I think, 2017 or perhaps 2018, | 5 says don't do that. Of course, even if there was
6 some are no longer available. You sort of have to find | 6 something that said he shouldn't do it, he could, That's
7 ~~ them used if you will. But I've reviewed almost all of | 7 why Lasked you whether you were talking about could or
8 manuals, including for 2020 and 2021, andnone ofthem | 8. should, He certainly could do it even if he shouldn't
9 — speak to these issues that he says supposedly everybody | 9 have. But I haven't seen anything cast in the form of
10 —_ knows about. So some of those you can find witha simple |10 — don't ever do this, don't ever tackle a running subject
11 Google search, others I already had in my library, |11 that's handcuffed behind their back,
12 Q. Okay. And it would be the same thing though this |12 The only possibly thing that would be
13 publication or later that you may be reduced to writing if |13 related to that, and I mentioned this in my report, is
14 you were asked by defense counsel to do so, the review of |14 — some of the advisory training from Taser that speaks to
15 _ the State of Florida that you did, again, with regard to |15 hitting somebody with a taser while they're running away.
16 ~— who you spoke with and all that, again, you wouldn't have }16 —_ But that's a different scenario. Mr. Katsaris addresses
17 any contact information for me, correct? 17 it as support for his opinion. It's actually a different
1g A. On my survey? 18 __ type of scenario, but other than that, I haven't seen
19 Q. Yes. 19 anything.
20 A. No, that was all specifically done without attribution. | 20 Q. Can you tell me one way or the other what would result in
21 Q, Okay. And then -- okay. Let me just make sure I'm clear. |21 a more likely injury to a suspect, okay? We have two
22 —_Is there anything else you would of done or have done, |22 scenarios you told me. We have the scenario -- well, the
23 excuse me, not would of, have done similar to an informal |23 scenario in general is you have an individual who is
24 survey, your review of the State of Florida that you |24 — handcuffed behind their back. We talked about how they
25 haven't told me about in order to, as you say, support |25 — may be immobilized or could be immobilized if they were to
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1 your opinions with regard to the tackle and not stopping | 1 fall, they can't catch themselves. We're also talking
2 the individual, or Mr. VanPelt, by the handcuffs? | 2 — about that same individual when they're handcuffed behind
3 A. I've done various other searching looking through | 3 their back if they were to get pulled -- if they were to
4 materials that I have and looking for different things | 4 — get stopped by an officer pulling on the handcuffs, I
5 online, nothing comes immediately to mind, but-- | 5 think you said the injury may be to their shoulder or
6 Q. Okay. 6 shoulders. Could you tell me one way or the other, in
7 A, I've done more poking at the question other than the | 7 either one of those scenarios, what would ~ what would
8 couple things we've talked about, I haven't come across | 8 _ precipitate or result in a greater injury, if you could?
9 anything. I haven't specifically looked through the [ACP | 9 What's more likely the scenario for the injury to result?
10 training keys, but if I was supplementing, I would | 10 MR. PADDISON: Objection, calls for speculation,
11 probably do that since you asked me about it. 11 = youcan answer to the extent you're able.
12 Q. Is there anything that you've seen on Google or any other |12 Q. (BY MS. DeROUIN); Sir, I'm just asking if you can tell me
13 = manual that you're telling about that you reviewed after }13 one way or the other?
14 the fact that would support that Defendant Layne could not |14 A. Well, I'm not your medical expert. So I would be cautious
15 use force by putting his hands on Mr. VanPelt's handcuffs |15 about extending my opinion too far in that regard. My
16 as opposed to the takedown? 16 common sense tells me that you're more likely to cause
17 A. Could you restate that? I wasn't -- 17 significant lasting injury by grabbing the handcuffs and
18 Q. Yeah. 18 essentially pulling back as someone's sprinting forward,
19 A. -- quite sure, 19 it would be like a -- when a dog comes off the porch and
20 Q, Sure, Is there anything that you read that you're telling |20 he's on a chain and he goes across the yard at full run
21 me, you said Google searches, there are manuals and other | 21 and hits the end of the chain, that that has a very
22 things, that you've read online that would support that | 22 significant potential for injury to the subject.
23 = Defendant Layne could not stop Mr. VanPelt by grabbing the | 23 Tackling somebody, of course, could result
24 ~=handcuffs? 24 = in injury. In my opinion, it would be more likely that
25 A, Could not or should not or -- 25 there would be like a facial injury or something. That's

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1 __ the construct that's usually cast regarding the taser | 1 because I mean, with a violent crime, you and I would
2 deployment that a person can't break their fall so they're | 2 probably both agree that a lot of things are out the
3 going to fall face first into the concrete or whatever. | 3 window at that point. But we're here, as you said this
4 And there have been cases where that's happened, although | 4 case about a non-violent crime. So with regard to a
5 very few as far as I know. 5 taser, and I can appreciate there was no taser used in
6 As far as the likelihood of a hip injury, 6 this case, but since you referenced it earlier on in your
7 that seems even less likely because of the dynamic | 7 testimony and you also put it in your report, I did want
8 involved. But again, you know, I'm not the sports | 8 to ask you a couple questions about that and you talk
9 physiologist or the football team trainer or the medical | 9 about that you do agree that a taser should not be
10 — expert to try to put things in a, you know, different |10 utilized or deployed on a fleeing subject, whether they're
11 — degrees of likelihood. My gut tells me that it would be [11 handcuffed or not, because of an immobilize issue and a
12 much more typical. Having chased individuals that were [12 risk for injury. I'm just paraphrasing. Do I have that
13 running away before, my gut tells me it would be much more [13 right?
14 — damaging to grab somebody by the handcuffs and yank back {14 A. Generally, although, there's no hard-and-fast rule for it.
15 onthem while they're running away from me. 15 _— It's a cautionary note. In fact, I don't even recall if
16 Q. Okay. And I can appreciate you're nota medical doctor ;16 _it's specifically outlined in the Taser International
17 and I was just asking if you could tell me one way or the 117 ‘Training program. There have been a couple widely
1g _ other, but it seems like you're telling me with that |18 circulated videos of it happening and it's not uncommon
19 caveat that you're not a medical doctor, that you believe |19 for it to be talked about in a taser training class, but
20 the injury would be greater with one stopping somebody by |20 it's certainly not a rule that says never do this. It's
21 __ the officers stopping somebody by the handcuffs andI |21 __ -- it's situation specific.
22 ‘think you mentioned with regard to a tackle, yes, you can |22 Q. Okay. In your footnote, you write, quote, common taser
23 see where they sustain a facial injury, but you can'trule |23 _ training does caution against deploying a taser in the
24 — out that in addition to a facial injury, they could |24 back ofa fleeing subject, but this is due to the
25 sustain a closed head injury, correct? 25 likelihood that not only would somebody be unable to break
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1 A. I can't rule anything out. Anything's possible. 1 their fall with their arms and then you go on. Do you see
2 Q, Sure, And they could sustain a fractured bone by not | 2 that?
3 being able to catch themselves, such as a hip fracture, | 3 A. Yes.
4 correct? 4 Q. And the only reason I'm short cutting it is because the
5 A. Anything's possible. 5 reference that you make to common taser training does
6 Q. Yeah. So it's just as well possible that an injury ora | 6 — caution it. So you would agree with me that you were
7 ~~ - significant injury could result by an officer stopping | 7 aware of some type of training course out there or manual
8 someone by the handcuffs as it would be ifthey were to | 8 — that does caution this type of use for the taser in that
9 tackle them while they're handcuffed behind their back, | 9 particular scenario, correct?
10 ~—s correct? 10 A. No, that's not correct, I'm not aware of it. At this
11 A. Again, anything's possible. 11 point, I'm not aware of a specific outline or training
12 Q. Sure. 12 manual that speaks to it. I just know that it's common to
13 A. I base my opinions on likely outcomes and that's what |13 talk about it in taser training as part of the general
14 _— officers are trained to do to base their decisionmaking on |14 — discussion of deployment and one of the main ideas that
15 likely outcomes. 15 _ taser training tries to get across to users is that as
16 Q. Okay. And I did see your footnote on 120 -- Footnote 121 {16 — with all levels of force, an officer has to think about
17 page 24 where you talk about the taser and you talk about j}17 = whether that level of force was justified in that
18 how officers are not, you would agree, that officers are [18 _ particular circumstance and particularly with taser, they
19 _ not trained to fase someone from behind or deploy their [19 also have to think about what happens after they use the
20 _—_toyzer -- deploy their taser, excuse me, inthe back ofa |20 force. If the person's up in a high place, are they going
21 _ fleeing suspect, whether they're handcuffed or not, due to [21 fo fall, you know, from the third fall or fire escape sort
22 immobilization, did I get that right? 22 of thing, if they're up in the tree or whatever, the
23 A, Well, it's also dependent upon the nature of the situation |23 secondary effect of locking somebody up with a taser and
24 of a higher —- it's just a level of force. 24 this is usually putting that in that framework, You know,
25 Q. Absolutely. And let's just stick to a non-violent crime {25 not just is the person doing enough that would justify the

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1 —_ use of the taser, but also recognizing the likelihood of | 1 different and that's the only --
2 them being seriously injured by the fall after the 2 Q. (BY MS. DeROUIN): Go ahead.
3 deployment of the taser, you need the factor that into | 3 A. That's the only thing I was trying -- that's the only
4 your decisionmaking. Sort of a neat level analysis that | 4 point I was trying to make.
5 officers are cautioned about and so that's what this is | 5 Q. understand. And with regard to a taser one being tased,
6 _ referring to. 6 I've never been tased before, but one being tased, they
7 Q. What would cause the arrestee or suspect that's fleeing to | 7 would -- you would agree with me that they would lose
8 fall if they're tased? 8 their mobility to use their arms and hands, correct, among
9 A. When someone -- when you deploy a taser into someone, this | 9 other body parts?
10 — assumes that there's a good circuit from the taser and /10 A. Generally, yes, although it doesn't always lock people up
11 what we call a lockup and if you've seen videos online, |11 _ fully, but in the context we're talking about, generally,
12 ~—s it's not uncommon if you get a good probe spread on the [12 yes.
13‘ taser deployment, a good circuit, if you will, where |13 Q. Okay. And with regard to handcuffing a similarity would
14 there's a lot of muscle mass between the probe sites and |14 be if one's handcuffed behind their back and they were to
15 __ the body, it's not uncommon for the person to essentially [15 fall forward, they would lose their ability to use their
16 ~— lockup like a board, if you will, and they just fallover }16 hands and arms to catch themselves, is that true?
17. —_ and they're not able to, you know, twist their body or |17 A. I would say generally that's the case, yes.
18 move their arms or really anything. In that context then, |18 Q. So the distinction you're making why this is not compared
19 you know, it's different than a tackle even with somebody |19 to a taser case, as you put in your footnote, I understand
20 that's handcuffed where they still have the ability to |20 your statement, is that the person that has their hands
21 turn their body, take the impact on their shoulder or [21 and arms handcuffed behind their back, they still would
22 whatever with a taser, it has a tendency to lock people up [22 _ have a possibility of being able to twist in order to help
23 ~— and they just fall over. 23 their fall, is that what you're saying?
24 Q. So in general if somebody's running and they are tased |24 A. Yes, to twist, to lift their head up, you know, when
25 from behind, you say they lockup and then they fall |25 they're going to make the impact as opposed to just
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1 ~~ forward, correct? 1 falling down flat without the ability to do any of those
2 A. Typically, yes. The cautionary note also usually speaks | 2 ‘things. Yeah, that's -- to me that's the primary
3 to and this -- again, this is a discussion that usually | 3 — difference and it's not -- and again, my primary point in
4 happens in class. It happened in alot of my classes when | 4 doing this explanation in my report was to illustrate that
5 | was teaching tasers. What are they going to fallon. | 5 it's not the same thing, Mr. Katsaris seems to draw the
6 You know, are they running across a lawn, are they running | 6 conclusion that it's exactly the same thing. It's not.
7 across a concrete surface, you know, are they going to | 7 Q. Is there any --
8 fall and hit their head on a curb, those are some of the | 8 A. The idea --
9 examples I can think of actually incident videos that I've | 9 Q. Is there any -- go ahead.
10 seen where people have, you know, taken that kind of fall, |10 A. I was just going to say the idea that officers ate trained
11 _—_— but they're literally not able to even twist their body or |11 — generally not to deploy a taser into the back of a running
12 = anything, they just go down. 12 suspect does not translate to officers are trained to
13 Q. Isn't it also around along the same logic that if you have |13. never tackle a running suspect. That's my main --
14 a fleeing subject who's handcuffed behind his back and an |14 Q. Okay.
15 officer like lunges forward at him, more than likely that [15 A. My main point.
16 —_ arrestee or suspect is going to fall forward? 16 Q. Sure. I just want to make sure we covered it at all. Is
17 MR. PADDISON: Objection, calls for speculation, [17 there any other distinction, sir, that you can think of
18 you can answer, 18 between the taser immobilization and the handcuffed behind
19 A. would expect them to fall forward in some regard, I'm |19 the back immobilize other than we talked about how it's
20 just drawing a distinction between their ability to twist |20 your opinion the person that's immobilized by handcuffed
21 their body as opposed to the taser hit and the only reason [21 — could still attempt to catch themselves in some
22 really that I drill down into the taser example in my |22 circumstances by twisting that we haven't discussed, is
23 report is to counter what Mr. Katsaris was saying about |23  _— there anything else that you can think of that's a
24 it's the same thing. It's not quite the same thing. The | 24 distinction between the two?
25 dynamic is different. The reaction to the deployment is |25 A. Off the top of my head --

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1 Q. That you haven't already told me? 1 procedure or a technique during an arrest that they have
2 A. Off the top of my head, I can't think of anything we | 2 not been trained on in your opinion?
3 haven't talked about. 3 A, Well, my general risk manager opinion is that they should
4 Q. Okay. And I just want to make sure the statement that you | 4 — do things that they've been trained on. But that's the
5 made, the complete statement you made on Footnote 121 on | 5 — reason we have procedural guidelines and not big thick
6 page 24, you don't you're not making any changes behind | 6 manuals full of, you know, mandated rules because they're
7 that, you stand behind that statement, correct? 7 ~~ out there and each situation evolves differently and they
g A. I'm reading through it. Give me just a moment. 8 have to have a flexibility to sort of figure that out.
9 Q. Oh, you're fine. Look up when you're done. That's fine. | 9 | What we expect them to do is what other officers typically
10 A. Okay. Yes, I stand behind that statement, yes. In [10 would, you know, believe would be an appropriate response
12 mindful of your time, Ms. Amy, didn't you havealo'clock |11 toa given situation.
12 required stopping time for some other case you have or |12 Q. So with respect to a tackle or a takedown, however, you
13. something? 13 want to call it, ifa law enforcement offer is not,
14 Q. Full disclosure at 1:30, [have a very important meeting |14 officer, excuse me, is not trained in that particular area
15 with my son who's a kindergarten at his school, but I will [15 — with respect to taking down a fleeing subject from behind
16 ~—_— be done well before then. 16 ~~ who is handcuffed while engaged in a non-violent crime, is
17 A. Well, you gotta make your priorities. 17 ~— it your opinion that they should not do that?
18 Q. And 1 think that's most important honestly. So nope, I'm |18 A. I would say that it generally would be better for officers
19 watching the clock and we'll get out, but my kindergariner |19 to use tactics and techniques that they've been trained on
20 has a meet-and-greet that both my husband and I willbe at |20 —_in situations where they can do that. But also
21 running right from the offices. So yep, thank you. /21 acknowledging that there's an infinite number of
22 A. Ido not want to run a foul with your kindergartner's |22 —_ possibilities and as long as what they do is generally
23 wrath, so -- 23 ~— within the realm of something that would be seen as
24 Q. know. Or the disappointment, right, never want todo |24 appropriate by their officers given circumstances, then
25 that, but I'm sure I'll disappointment once in awhile, 25 _ there's always -- well, there’s frequently something else
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1 I just -- [ will, Ijust have a couple more | 1 that could have been done. The question is what was done
2 areas to go through. The only thing is you have a pretty | 2 appropriate under the circumstances whether the officer
3 lengthy report. So Tam kind of short circuit some of | 3 believed that that was a typical appropriate response.
4 this stuff. 4 Q. Sure, As you know, and you're well versed in the law, I
5 A. Lunderstand. 5 know you're not a lawyer, but I know in your report, you
6 Q. Okay. It would have been easier if you gave mea one-page | 6 said it's very prominent in precedential cases with regard
7 ~~ report. 7 to Grand v, Conner and all the others cases, you
8 MS. DeROUIN: If you want to take a break, Greg, | 8 understand that the standard is based on the totality of
9 that's fine. 9 the circumstances and based upon a reasonably prudent
10 MR. PADDISON: I just want to fill up my water |10 police officer is what you're referring to, correct?
11 —_— bottle, That's just about it. 11 A. Reasonably objective police officer, but yes.
12 (Off the record at 12:02 p.m.) 12 Q. Sure, Okay. And I just want to make sure that you're not
13 (Back on the record at 12:06 p.m.) 13. aware of any law enforcement manual, no matter what the
14 Q. (BY MS. DeROUIN): In general, Mr, Ashley, are law [14 that name of it is, any law enforcement manual that would
15 — enforcement officers allowed to implement procedures that |}15 train a Jaw enforcement officer to takedown somebody from
16 __— they are not trained on? 16 behind while they're engaged in a non-violent crime and
17 A. In general, yes, because it's not possible to train them [17 handcuffed while they're running from the officer, you're
18 onevery possible situation or context. If you're talking }18 not aware of any manual or training program, correct?
19 about specific weapons, for example, an officer that |19 A. I'm not aware of any manual or training program that
20 hasn't been trained with his baton generally is expected |20 either authorizes that or prevents it.
21  tonot use a baton. But in terms of general techniques |21 Q. Also too, I know from what you reviewed, you reviewed the
22 —_ and tactics, something that -- just because something |22 = -- or I'll start with this one. You reviewed Mr.
23 ~— isn't trained to a level of specificity, doesn't 23. VanPelt's deposition transcript in this case, right?
24 necessarily mean that an officer can't do that. 24 A, Yes.
25 Q. How about should they, should they be utilizing a |25 Q. Okay. And know you saw his deposition testimony and

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1 pertinent parts where he talks about how his versionof | 1 reference in your report?
2 events on how Defendant Layne he said wrapped his arms | 2 A. No, this quote is from the final administrative review
3 around him between his waist and his knees and lifted him | 3 from Sergeant Holston. I'm quoting Sergeant Holston's
4 off the ground, as he called it airborne, and slammed him | 4 relation of the -- of the statement,
5 down on the ground. Do you recall that testimony? | 5 Q. Okay. You were provided Devin Searcy's interview
6 A. Generally, yes. 6 statement on June 17th, 2019 for you to read, correct?
7 Q. Okay. And it looks like, I think, you referenced also in | 7 A. Yes.
8 your report the Devin Searcy, Devin Searcy was the front | 8 Q. And you would agree with me that it would be important to
9 seat passenger in the car of Mr. VanPelt at the time of | 9 read the entire statement as opposed to a quote from an
10 ~— the incident and you recall Devin Searcy, right? (10 interview investigation report, correct?
i1 A. Right, Can you tell me what page you're on, Counsel. | |11 A. That's correct, I would agree with that, yes.
12. ~—s know that I -- 12 Q. Okay. In general with regard to the statement that's --
13 Q. Yep. 13 _ his actual statement, Devin Searcy that's dated June 17 of
14 A, --I focused some of this in my report, 14 2019, it's found on -- I believe, it was provided the
15 Q. Yeah, you're fine. Oh, I'm sorry. With-- can give you [15 _ transcript is page eight and he does reference in his
16 the dep transcript, but I know you mentioned Devin Searcy [16 interview that VanPelt was picked up off the ground just
17 =~ acouple times, I did not handwrite down where you |17_ —_-as VanPelt testified to. Would that be an important fact
18 referenced him. If you want to take a look, you can, but [18 to you to consider in your opinion with regard to Mr.
19 I'm just going to ask you generally about his statements. |19 | Layne's actions against Mr. VanPelt in this case?

20 So take a minute. 20 A. I mean, I would of read it. I wasn't trying to reflect
21 A. What I recall is that Mr. Searcy made two statements and | 21 everything Searcy said in this paraphrasing here. So is
22 the second one, he spoke to -- sorry. He spoke to what |22 it important to me that he said the same thing that his
23 Mr. VanPelt had said essentially. 23 friend said, only to the extent that he said the same
24 Q. Yeah, I'm sorry. Mr. Ashley, I did quickly find it. Page |24 thing his friend said.
25 18 of your report. 25 Q. No, I think what I'm asking is and that's fair. If you're
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1 A. Ab, thank you. 1 _ not following it's totally probably my line of
2 Q. You're welcome, 2 questioning. But in general, I'm asking about that
3 A. Back up here. 3 particular point. Would that particular point that what
4 Q. You may have referenced it other places, but where,I | 4 Mr. VanPelt has testified to and what Mr. Devin Searcy has
5 guess, have a post it now is on page 18. We can start | 5 stated that Mr. VanPelt was picked up off the ground prior
6 there, 6 to being slammed on the ground, would that be important to
7 A.T understand. Okay. Yeah. 7 ~~ - you in your analysis with regard to whether Defendant
& Q. Okay. I know you're putting -- what I want to ask you on, | 8 — Layne's actions were reasonable and necessary at the time
9 sit, is the statement he made you referenced, the June 17, | 9 — given the totality of the circumstances?
16 =. 2019 statement. He makes to the force investigation |10 A. I'm always uncomfortable when an attomey wants to know if
11 investigators, okay? 11 something was important to me because everything in the
12 A. Mm-hm, yes. 12 record is important to me. In this context, something
13 Q. And I did see it because you talk about the Searcy also [13 that happens in four seconds observed by a person 75 feet
14 related that when VanPelt ran away, the white officer |14 away and they said it during their second interview, it's
15 tackled VanPelt and slammed him on his left side. Searcy |15 not my position as an expert to determine credibility.
16 __ related that the officer recovered drugs from VanPelt |16 So, you know, it doesn't take on the air of the officer
17 ~—_ after he was slammed to the pround by the white officer |17 said this, but Searcy said this. You know, I certainly
18 and the white officer pulled VanPelt's pants and boxers |18 _read everything and reviewed everything generally as —
19 down to his side area, correct? And that's what it says? |19 Q, Sure, go ahead.
20 A. That's what it says, yes. 20 A. I was just -- generally, J was just try to illustrate a
21 Q. That's all I'm asking. And I can see that you probably |21 recap of what Searcy said. I wasn't try to draw a
22 paraphrased this, but when I went back to the statementon [22 distinction between whether he was picked up off -- it
23 June 17th, 2019, another fact that Devin Searcy stated in |23 looked like he was picked up off the ground or not at that
24 his interview is that VanPelt was picked up offthe |24 time.
25 — ground. Is there a reason why you did not put that [25 Q. Did you consider though the fact or one of the factors in
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1 __ the totality of the circumstances in this takedown that | 1 for him to intend that, he would have had to have been
2 Mr. VanPelt testified and so did Mr. Searcy stated that | 2 able to make that detailed analysis in the middle of all
3 -VanPelt was picked up off the ground, did you consider | 3 that happening in four seconds or less. In my experience,
4 that in your analysis at all? 4 that's an unlikely analysis to be made in that short of
5 A. Well, I consider everything in the record providedtome | 5 timeframe.
6  inmy analysis. I know that's a general statement, but | 6 Q. When you say it's an unlikely analysis to be made in that
7 it's true. The fact is my analysis goes to the officer's | 7 short of timeframe, are you referring to Defendant Layne's
8 perception of what's happening and how that informs their | 8 analysis or are you referring to your analysis with regard
9 action. Whether VanPelt was picked up off the ground, | 9 to this hypothetical?

10 whether it looked like he was picked up off the ground, |10 A. Well, I'm talking about Layne being able to make that kind

11 whether during a tackle, his feet left the ground because [11 — of an analysis in that short timeframe.

12 that's what happens in the tackle, you know, I wasn't |12 Q. Well, when you're talking about the reasonableness of the

13. there. So] can't put that level of specificity on it. |13 actions of an officer, you would agree with me that intent

14 If the allegation is that Layne 14 — of the officer does not matter, is that true?

15 _ intentionally picked him up and slammed him down, you |15 A. Depending on what you mean by intent. If 1 understand

16 know, I guess, it takes on a different air in that case, [16 | where think you're going, I don't think intent is as

17 ~—sbut again, we're talking about something that happens in |17 = much an element of this as no matter what the officer

1g four seconds or less, At which point the officer is [18 intended was the decision to do what he did likely to be a

19 probably still mentally shifting into fully asthe guys |19 —_ similar decision that other officers would make under

20 ~—s running as opposed to gee, it's nice and compliant and |20 — similar circumstances.

21 docile and going along with me, So whether his mind | 21 In other words, what it comes down to is

22 ~—_ actually had made that total shift at that point,I don't |22 | would other officers, placed in the same set of

23. know. It's -- it's attributing a lot of cool, calm 23 circumstances, believe that it was appropriate and logical

24 analysis time to an officer to say in that four seconds or |24 _ to tackle the guy that's running away and my opinion of

25 less, he was able to make that determination the best |25 that is yes, they would.

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1 thing to do here is pick him up off the ground and slam | 1 Q. And again, I'm asking you with regard to Mr, VanPelt and
2 him down as opposed to just to hitting him ona running | 2 Mr. Searcy's version of the facts, not just tackling Mr,
3 tackle. 3 VanPelt by based on how Defendant Layne testified how the
4 Q. Sure. And assuming we believe that Mr. VanPelt and | 4 tackle or takedown happened, but I'm asking you in this
5 assuming for the sake of this question that we believe Mr. | 5 question with given these totality of the circumstances
6  VanPelt and Mr. Searcy's version of events that Mr. | 6 — with both Mr, VanPeli’s and Mr. Searcy stating and
7  VanPelt did run, he was patted down already, we've already | 7 testifying that Mr. VanPelt was picked up off the ground
8 been through that, he's handcuffed behind his back, but | 8 between his waist and his knees before he was slammed to
9 then Defendant Layne wrapped his arms around VanPelt | 9 the ground, I'm asking you whether or not you have an

10 = somewhere between his waist and knees picking him up off [10  — opinion one way or the other whether or not that was

11 the ground and slamming him to the ground, did you have |11 —_ reasonable and necessary force given the totality of the

12 any opinion whether that would be a logical and j|12 circumstances?

13 appropriate response by Defendant Layne given those [13 A. ‘The picking up off the ground.

14 circumstances or factors? 14 Q. Yes. Based on what Mr. VanPelt testified to and Mr.

15 A. I guess, I'm uncomfortable making that kind of analysis in |15 Searcy stated?

16 __ the short timeframe and as a hypothetical. So in orderto |16 A. I would have to spend some time thinking about that. My

17 = determine whether it would be an appropriate and logical |17 —_ analysis goes to whether the officer's decisionmaking was

1a —_ reaction on the part of the officer, ] would have to |18 —_ appropriate under the circumstances and whether somebody

19 assume that the officer made that kind of analysis inthat |19 —_ else believed that he was picked up off the ground,

20 four seconds or less timeframe while he's running after |20 — whether a witness 75 feet away believed that he was picked

21 somebody that all of a sudden took offrunning. AndI |21 — up off the ground at the end of that four-second foot

22 can't make that leap. 22 sprint, I mean, that's a question for the trier of fact

23 So absent that, whether or not VanPelt's [23 to decide who they believe.

24 feet left the ground during the tackle, you know, how | 24 Whether - to a certain extent, I think

25 would I know whether Layne intended that or not? In order |25 — we're trying to break the tackle down into it's component

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1 __ patts, which doesn't necessarily translate because of the | 1 statement to the true because he will be called to testify
2 short timeframe. 2 at trial, if you take their positions to be true or their
3 Q. So you can't tell me one way or the other, correct, you | 3 testimony to be true that in addition to Mr. -- excuse me,
4 don't have an opinion on that and you leave itto the | 4 Defendant Layne before he tackles Mr. VanPelt, he picked
5 trier of fact, is that what you're saying? 5 him up, he picked him up off the ground between his waist
6 A, Well, the whole thing left to the trier of fact, but my | 6 — and knees and he slammed him on the ground, AJ I'm
7 ‘opinion is that officers would have believed that what | 7 asking would that be, how about I use your own words,
8 Officer Layne -- other officers could believe what Officer | 8 — logical and appropriate response by Defendant Layne given
9 Layne did was logical and appropriate under the 9 those additional details just assuming that testimony that
10 circumstances, that's my opinion. 1o)=—s Mr. VanPelt to be true, that's all I'm asking?
11 Q. And then you're saying that with regard to what I'm asking | 11 MR. PADDISON: Objection, calls for speculation,
12 you, J just want to make sure, that picking him up off |12 asked and answered and you can answer.
13 ground, Defendant Layne picking Mr. VanPelt off the |13 A. I'm not sure how to puta finer point on my answer,
14 —_ ground, you're saying it's your opinion other reasonable [14 | Counselor. I'm really not trying to be obstinate about
15 _— officers would believe that that would be reasonable that |15 it. I'm just what you're talking about are VanPelt and
16 Defendant Layne did that, is that what you're saying? |16 Searcy describing the tackle as they observed it or they
17 A. I'm saying that other reasonable officers would of {17 _ think they observed it. What I'm talking about is the
18 _ believed that it was appropriate and logical to tackle the |1e fact that it was a tackle. The fact that somebody's feet
19 running suspect in that short timeframe, Ijustdon't |19 left the ground during the tackle. How far off the ground
20 — know that the quote-on-quote picking him up off the ground |}20 _—_ did the feet go, I don't know. I'm willing to bet none of
21 ~ --I mean, to a certain extent every tackle is probably |21 them actually know either, So what does it mean that
22 ~—- going to involve the subject's feet leaving the ground. |22 —_ picked him up off the ground and slam him down, a tackle
23 So we're trying to put a very fine point on something that |23 by it's nature is hitting somebody and knocking them to
24 Idon't know that we can put avery fine pointon. |24 the ground.
25 Q. If you're generally speaking that reasonably prudent | 25 So, you know, I'm uncomfortable with
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1 officers believed defendant's action, Defendant Layne's | 1 __ the idea that the implication seems to be that he -- that
2 —_ actions of tackling of a running suspect were reasonable, | 2 Layne picked VanPelt up, slammed him to the ground, and
3 are you just saying in general, just tackling arunning | 3 then tackled him. The picking him off his feet to the
4 suspect you're not giving any difference to or credits, | 4 — ground is the tackle. He's going to come off the ground
5 excuse me, to a suspect in this case being handcuffed | 5 when he does that. How far? I dont know and he doesn't
6 behind his back or anything? When you say you're | 6 either. I'm sure. But the tackle is the tackle.
7 generally saying tackling a running suspect, you would | 7 = Officers tackle people all the time -- well, not all the
8 agree with me there's other factors in this case that | 8 time, but fairly commonly running suspects, whether
9 we've been talking for at length, correct? 9 they're handcuffed or not.
10 A. Well, there are other factors, I agree with that. I'm }10 Q. (BY MS. DeROUIN): Are you aware, sir, of any training in
11 not -- 11 ~— any type of law enforcement training at all that allows
12 Q. AndI-- 12 for an officer to pick somebody up off the ground and slam
\ j13 A.T'mnot--I'm sorry. I'm not trying to exclude the fact |13 him to the ground as a form of tackling?
14 __ that he's handcuffed behind his back. I just wasn't, you |14 A, Again, I think you're speaking semantics. A tackle picks
15 know, trying to make my sentences long and involved. In |15 — somebody off the ground and takes them down. And as I
16 _ this situation, in this situation, as it evolved on this |16 _ testified earlier, I'm not familiar with anything that
17 particular day and time in the context that the tackle was [17 either says to do it or says not to do it, other than Mr.
18 _—_ done, it's my opinion that other officers, under similar |18  Katsaris saying everybody knows that, which evidentially,
19 circumstances, could of believed that what Officer Layne |19 everybody doesn't.
20 ~=— did was logical and appropriate. 20 Q. You referenced in your report on page 48, if you want to
21 Q. Okay. And that's based on Defendant Layne's version of |21 get back to that, I just want to ask you a couple more
22 events? And all I'm asking you, and we can move on, all |22 things and I'm about done. Let me know when you're there,
23 I'm asking you with this particular hypothetical isdo you |23 sir. I'm just going to have you look at something. And
24 have an opinion if you add one more factor to it, if you |24 --
25 take Mr. VanPelt's testimony to be true or Mr. Searcy's |25 A. All right. I'm there.

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1 Q. Okay. And your second opinion it says itis my opinion | 1 that in the video. So whether it actually happened or

2 that under similar tense uncertain, it rapidly evolving | 2 not, you know, would be up to the Jury to decide if they

3 circumstances, other officers would believe it's 3 believe VanPelt's version of events. I would say as a

4 appropriate to act as Layne did. Do you see that? | 4 — hypothetical, once an officer takes a handcuffed suspect

5 A. Yes, 5 down absent some other extenuating circumstance to pick

6 Q, And if you flip to page 38 of your report, it looks like, | 6 — him up by the hair and drop him back down on his injury

7 sir, that you went through and described those 7 would be inappropriate.

8 circumstances. That's where I would like you to take a | 8 Q. Okay. We also hit on about the 75 feet. [heard you kind

9 minute and read page 38. So I'll I'm going to ask you and | 9 — of mention that maybe a couple questions, but I did want
10 then T'll stop talking and let you read. Alll'm going to |10 to hit on that in your report. It's on page 47?

At ask you is on page 38, would that accompany or include, |11 A. Yes.
12 excuse me, it's been a long time, would this include all |12 Q. Again, I'm trying to move this long, I'm almost done.
13 _ the factors you're talking about to formulate that [13 Your report reflects on page 47 that in quote, part
14 opinion? 14 = quotes, and you can definitely read it yourself. That in
15 A. Generally, I guess. It may have been -- 15 reaction to VanPelt's active resistance, Layne gave chase,
16 Q, And sorry. Page 39 you go onto talk about what's rapidly |16 caught up to VanPelt in approximately 75 feet and took
17 evolving. All I'm asking is you summed up in your general [17 VanPelt down by tackling him.
18 —_ opinion, I know you told me earlier on in this deposition |1e A. Yes.
19 that you also, of course, your opinions are throughout |19 Q. Did I quote that --
20 with these statements and all I'm asking when you talk |20 A. Yes.
21 about these factors of what do you call it? Similar |21 Q. ~ correctly? Okay. And can you tell me in generally
22 tense, uncertain, and rapidly evolving circumstances, |22 what do you base that on? And what I mean not about the
23‘ excuse me, those have been outlined on page 38 and 39? |23 tackle, we're passed that, I'm only asking you about the
24 A. Yes, 24 ~— distance, what do you base your calculations on to get the
25 Q. I'm not missing anything? 25 75 feet?

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1 A. As far as I know, yes. 1 A, Yes. I did a Google Earth measurement from the point

2 Q. Okay. There's also testimony been given by Mr. VanPelt,I | 2 where the foot chase started to the point where the tackle

3 know you reviewed his deposition transcript, that afterhe | 3 occurred and it's 75 feet and there's a screen capture of

4 __was already slammed down on the ground ashe testified to | 4 that in the file that I'm going to provide that shows

5 by Defendant Layne, he further testified that Defendant | 5 that.

6 Layne picked me up by my hair and he released me andhe | 6 Q. Okay. And you reference this Google Earth measurement in

7 let me fall directly back down on the same side thatI was | 7 your footnote on that page, correct?

8 injured on, Do you recall that testimony? 8 A. Yes,

9 A. Not offhand. I don't dispute that he said that. Ijust | 9 Q. Okay, And you based it on the Google Earth measurement
io) =— don't recall right offhand. 10 = you did and you also did a screen shot that you're going
11 Q. Okay. I didn't see that you offered any kind of opinion |11 to provide to your file, correct?

12 ~—on that with regard to whether or not that action by |12 A. Yes.

13. Defendant Layne was logical and an appropriate response. |13 Q. Okay. With regard to the testimony, and all I'm asking is
14 As you sit here today, do you have an 14 Defendant Layne testified that VanPelt had a 10- to
15 —_ opinion one way or the other whether or not that action by [15 — 15-feet lead on him before defendant started running and
16 Defendant Layne, as testified to by Mr. VanPelt, would |16 that he was able to catch up to him about 25 to 30 feet.
17 have been a logical and appropriate response given the |17 Do you recall that testimony that Defendant Layne offered
1s _ totality of the circumstances in this case? 18 in this case?

19 A, That he says he picked him up by the hair and then he [19 A, Well, I recall that Layne estimated some distances that
20 dropped him back down on his injury? 20 _~were shorter than the 75 feet, yes.

21 Q. Yep, it's a quote from his dep transcript and { willread |21 Q. Okay. And also Mr. VanPelt testified that after he
22 the quote, 22 panicked and ran, he said, quote, maybe 10-15 feet out
23 A, No, it's okay. 23 with handcuffs on, pants were sagging, he picked me up and
24 Q. Oh, you got it? Okay. 24 he slammed me down on the ground, page 13 of Mr. VanPelt's
25 A. No, but I think I can answer it. I don't recall seeing |25 — dep testimony, again, did you consider the testimony of

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1 VanPelt as well where he was talking about running about | 1 — specific differences.

2 maybe 10 to 15 feet? 2 Q. Okay. Last but not least, you mentioned that you have a

3 A. Did I consider it? I considered everything in the file. | 3 file and that you're going to provide it to defense

4 The fact is it's extremely common for people involved in | 4 — counsel and one of the things in your file is your Google

5 _ situations to not closely estimate or accurately estimate | 5 Earth measurement, Can you tell me, since I don't have

6 — distances and times and things like that, that's extremely | 6 — your file today, can you tell me what other things you

7 common and I think that happened in both of those cases, | 7 have in your file that will be producing to defense

8 both of those individuals realizing -- @ counsel that are not privileged?

9 Q. Okay. 9 A. Well, Imean, that I was provided and information on the
10 A. I'm sorry. Let me just -- io ~—— weather, information on the area, screen captures of the
11 Q. Go ahead. Nope. Go ahead. 12 —_ area, both overhead views and street level views, the
12 A. Realizing that if it was just in the 10-15 feet, the time |12 measurement, There's some other measurements regarding
13. was even less, but the actual time was roughly four [13 the location, you know, how far it was in the Southfield
14 seconds. So that's all, I guess. 14 __— freeway, etcetera.

15 Q. Let me ask you this way and I'm not trying tobe [15 Q. Those are the things you referenced in your report, right?
16 argumentative. I hope I wasn't argumentative at allin |16 A. Yes. Everything --
17 this deposition. It's not my intent, but I'm just asking [17 Q. Okay.
18 you keep talking about four seconds and I'm going to [18 A. Everything that's in my file is referenced in any document
19 generally ask you what you base the four seconds on for |19 —_ review list at the end except, and I noticed this last
20 _ this incident to occur? 20 night when I was looking, I do have a footnote that cites
21 A. Normally, I would say use an on-screen display for the |21 the Detroit Police use of force policy guideline, which is
22 body cams. I believe, in this case, the on-screen display |22 Section 3.02, I believe. It's footnoted, but it's not
23 ~wasn't active. 50 I would of used it in the video player {23 _ listed in any document review list. Somehow I missed
2A software, you know, estimate to read the times andI /24 that. So the continuum training memorandum is, but the
25 _—_ actually cite to that in Footnote 248, 7:37 into the |25 policy isn't listed in the document review list, but it is
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1 recording from Layne's body worn camera the takedown } 1 _ listed and spelled out in the footnote and that's -- and I

2 occurred at seven minutes and 40 seconds into the video. | 2 put that on the -- in the file.

3 So we're talking four seconds. 3 Q. Sir, in your file could I find any manual, publications,

4 Q. Okay. Are you saying, and I'm just asking sol understand | 4 Google searches, any additional research that you did with

5 your opinions. Are you saying in four seconds, Defendant | 5 respect to any of your opinions you provided to me today?

6 Layne was able to run approximately 75 feet? Do youthink | 6 A. You won't --

7 that's probable? 7 Q, That you relied on, not that you issued, any manuals that

g A. Oh, yeah, I think it's definitely probable, yes. 8 you relied on or anything the ones that I just mentioned?

9 Q. Okay. So -- and that's fine. Briefly going to page 25 of | 9 A, You'll find a list in the document review list of
10 ~—- your report. 16 ~—s reference material, but as far as I know, everything on
11 A. All right. i1 _— there is copyrighted. So I don't provide, you know,
12 Q, Okay. You make a statement that states, quote, while the |12 copies of --

13 Detroit directives are based on an earlier version of the [13 Q. Sure.

14 continuum, levels of resistance and levels of control are |14 A. -- books and stuff, but everything's listed should be easy

15 essentially the same. Do you see that? 15 __ to locate.

16 A. Yes. 16 Q. Sure. Sorry, | was -- all I'm trying to say is I know
17 Q, And did I read that accurately? 17 it's listed in your report. I'm just saying since I don't
ia A, I didn't follow along, but that's generally an accurate |18 have your file, I just want to see if there's any other

19 statement, yes. 19 = manual you may have looked up last night and like oh, why
20 Q, Okay. All I'm asking, sir, you stated they are 20 ~— don't I print page -- you know, a particular page number
21 _—_ essentially the same. Is there anything, as you sit here |21 —_ out of this manual because it may help me for my dep
22 today, that you can tell me that there would be any [22 tomorrow or to explain something to Amy, I'm just asking
23 ~— differences to? 23 __ is there anything additional than what you've already put
24 A. No, I don't think that part of the continuum was -- we're |24 in your report that's in your file that you relied onto

25 just talking about the terminology and I don't recall any |25 offer any opinions today?

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1 A. I didn't put anything into the file that wasn't part of my | 1 A. Yes.
2 report consideration, but there have been other things | 2 Q, Okay. And I'm not sure ifI provided this to you or not,
3 that we talked about the beginning from FDLE and stuff, | 3 but are you aware of a PDF compilation showing the
4 those things aren't in the file because I did that 4 frame-by-frame photographs of that body worn camera?
5 additional supplemental research after the report was | 5 A. Yes.
6 submitted, 6 Q. Okay. I'm going to share with you for a moment our screen
7 Q. Okay. 7 here and is this appearing on your screen?
8 A. But again, it doesn't change my opinion. Those are just | 8 A. Yes.
9 things that further underscore my opinions. 9 Q. Okay, And you see where it reads frame 3:40 towards the
10 Q. Okay. And your opinions with regard to how you disagree |10 bottom?
11 ~~ with Mr. Katsaris that you've testified to today and any |11 A. Yes,
12 _ other disagreements would be, of course, found in your |12 Q. Based on your prior review of the body worn camera of
13. —s report, correct? 13 © Officer Layne, do you -- can you recall where in the
14 A. As far as I know, yes. 14 — sequence of events, this specific frame would have been
15 Q. Okay. Is there anything, as you sit here today, that you |15 taken from?
16 have any further disagreement with regard to Mr, Katsaris' |16 A. As I recall, this was after the takedown looking back
17° opinions that we have not talked about today or that are |17 toward the scout cars.
18 not found in your report? 18 Q. Okay, And I'm going to roll through these frames and if
19 A. Mr. Katsaris spends time talking about, to alimited |19 — you need me to slow down, that's fine, but I'm going to
20 ~— degree, talking about the investigation, that typical |20 frame-by-frame here if I can. Is it whiting out for
21 Monell type opinions, which I sort of address in my [21 everybody else?
22 report, but not specifically and Katsaris said this andI |22 A. Yeah.
23 disagree and here's why, I speak to those issues in the |23 MS, DeROUIN: Yeah, it did.
24 report, the policies, the training, and things like that. |24 Q.(BY MR. PADDISON); All right. There we go. 3:45, Now,
25 So I disagree with him in the respect that |25 at this point here, can you Officer Layne's hands on the
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1 he says they didn't do an adequate job of all that stuff | 1 screen?
2 and] disagree with that, but I didn't spell it outin | 2 A. Yes.
3 that way. J wasn't trying to attack Mr. Katsaris in my | 3 Q. Okay. And where do Officer Layne's hands appear to be?
4 report. The only reason I specifically addressed those | 4 A. It's a little hard to tell from the specific --
5 two points we talked about is because he specifically | 5 MS. DeROUIN; Right.
6 points to those. So I felt like I had to counterpoint | 6 A. -- angle.
7 respond to them. 7 Q. (BY MR. PADDISON): Okay. At any point here, can you see
8 Q. Okay. Anything else with regard to disagreements or | 8 where Officer Layne's hands are?
9 — counterpoints to respond to Mr. Katsaris' opinions that we | 9 A.Ican see where his hands and arms are. I'm not quite
10 ~—shaven't discussed today or in your report? 10s sure.
11 A. Off the top of my head, I can't think of anything. [11 Q. Let me ask you this. Can you see Mr. VanPelt's head in
12 Q. Okay. With that being said, I appreciate your time today. |12 the screen shot here?
13 It was very nice talking to you and meeting you. And I'll {13 A. It looks like his head at Layne's left hand. I can't
14 hand it over to Mr. Paddison. 14 quite tell from this.
15 A. Thank you. . 15 Q. Okay, Does it appear as though Officer Layne has anything
16 MR. PADDISON: Thank you. 16 ~— in his left hand?
17 EXAMINATION 17 A. [fT had -- it almost looks like he has a taser in his
is BY MR. PADDISON: 1s left hand. I'm seeing the yellow.
19 Q, Mr, Ashley, just a couple quick follow-ups. 19 Q. Okay.
20 You were asked a moment ago about Mr. [20 A. Which would indicate a taser.
21  VanPelt's allegations that he was picked up by his hair. |21 Q. Are you aware of Mr, VanPelt had yellow hair?
22 ~=Do you recall that? 22 A, No,
23 A. Yes. 23 Q. And can you see Officer Layne's right hand in the
24 Q, Okay. Now, we had the benefit of the body worn camera of | 24 photograph? We're at frame 3:59.
25 Officer Layne, is that correct? 25 A. In my view, I think I can see it. It's heavily shadowed,

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1 Greg, So there we are. Yes, I sec it.

2 Q. Now, at this point, do you see Officer Layne’s right hand?

3 A. Yes.

4 Q. Okay. Can you tell where it is in relation to Mr.

5  VanPelt's body?

6 A. Looks like he's about to grab ahold of his jacket.

7 Q. And does -- can you see where his left hand is going or

s his left wrist?

9 A. At the top of the frame, it looks like he's holding onto
the jacket.

Q. Okay. And what brings you to that conclusion that he's
holding onto the jacket?

13 A. Just the way the fabric is pulled up.

14 Q. At this point, can we see both of Officer Layne's hands?

15 A. Yes,

16 Q. Okay. And where is Officer Layne's left hand?

17 A. Same location. I'm not sure if that's his taser in his

18 hand. T can't quite tell.

i9 Q, And where's his right hand?

10
11
12

20 A. It looks like it's supporting VanPelt's body on the
21 ~— right-hand side.
22 Q, And about frame three -- four -- we'll call it 4:05, 4:06
23°  wesee what appears to be Mr. VanPelt begin to fall,
24 correct?

A, Yes.

25

1 A. Offhand, I'm not. I don't recall anything specifically

2 right now.
3 Q. Okay. I'm going to have you take a look here at a case
4 captioned Cutchin versus District of Columbia, the
5 citation is 369 F Sup 3D. Do you see the highlighted
6 portion on your screen?
7 A. Yes,
8 Q, Okay. If you could take a moment and read that
9 highlighted portion there, there is a slight continuation
10 = on the next page. Let me know when you're ready to scroll
11 down.
12 MS. DeROUIN: Just place an objection with regard
13 to this case law. It's in partial part. Mr. Ashley is
14 not anattorney. I don't think he's an expert in
15 —_ interpreting the constitutional laws of this country.
16 It's. anon-binding opinion, but we'll go ahead and let him
17 _—sread it.

18 A. Greg, you need to make that wider. I can't read it.
19 Q. (BY MR. PADDISON): Is that better?
20 A. Justa little more, please. Okay. Scroll. Scroll. All

21 right,

22 Q. Okay. After having the opportunity to read a selection
23 from the opinion, does that have any impact on your
24 assessment of whether or not it matters, as far as
25 reasonableness is concerned, whether Mr. VanPelt was

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1 Q. At any point during that sequence, could you see observe
2 Officer Layne's hand on Mr. -- holding onto Mr. VanPelt's
3 hair?
4 A.No.
5 MS, DeROUIN: I'm just going to place objection to
6 foundation. The video doesn't accurately describe the
7 whole thing, but that will be for the trier of fact to
8 determine, go ahead,
9 A. No,
10 Q. (BY MR. PADDISON): You can answer.
11 A. No.
12 Q. You were -- a bit ago you were asked to speculate about
13 + whether or not it would be a reasonable use of force if,
14 as Mr. VanPelt had alleged that he was picked up and
15 slammed to the ground, do you recall that?
16 A. Yes,
17 Q. Okay. And you were uncomfortable determining that
18 _ because, I believe, ] may be paraphrasing here, that it
19 ~—- was breaking down the tackle into very small chunks
20 = instead of looking at the tackle as a single event. I
21 know I'm paraphrasing. Is that a fair assessment?
22 A. Yes.
23 Q. Okay. Are you aware of any existing case law or precedent
24 that addresses a tackle or a body slam in the context of a

Nh
ol

fleeing suspect who is handcuffed?

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1 actually picked up and slammed down or was simply tackled
2 inthe more generic and broad sense?

3 MS. DeROUIN: Objection to form, foundation, calls
4 for a legal conclusion, he is not an attorney in this case
5 and that case is completely just for facts in this case,
6 but you and I can argue that in further briefing, but go

7 ahead, Mr. Ashley,

8 A, It appears it would support my opinion.

9 Q. (BY MR. PADDISON): Now, I want to return for a moment to

10 ~——sthe frame-by-frame body worn camera and other videos.
11 Now, if I understand correctly, you reviewed
12 the body worn camera or Officer Layne, correct?
13 A. Yes,

14 Q. As well as the — did you review the front facing dash
15 camera from Officer Layne's vehicle?

16 A. Yes,

17 Q. And did you review the rear facing camera from Officer
18 = Layne's video?

19 A, Yes,

20 Q. Now, I would like to pull up here for a moment the

21 frame-by-frame of the rear facing camera here and it's
22 going to be shared with a couple of other sections here.
23 ~~ Let me pull this up. Give me one moment, Let's see here.
24 That what I'm looking for. There we go, Okay. Now, you
25 sce in the upper right-hand corner where it says rear seat

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1 car camera? 1 __ techniques are taught, you know, in this situation, here's
2 A, Yes, 2 a couple different things you can do, that sort of
3 Q. Now, we're at frame 80, correct? 3 context. It's just not possible to cover every possible
4 A. Yes. 4 delineation of tactics and techniques.
5 Q. I would like to describe what you observed as I move | 5 Q. Okay. As far as you know, are those trainings ever been
6 forward in rear seat car camera frame in the top right | 6 — intended to be an all inclusive list of different methods
7 corner, okay? 7 an officer can use?
8 A. Allright. It appears that Officer Layne, during the | 8 MS. DeROUIN: Objection to foundation, go ahead.
9 tackle, does not lift VanPelt's feet off the ground, but | 9 A. No, I've never heard them cast in that way or that they're
10 that, in essence, VanPelt just sort of folds forward, you [10 intended to be exhaustive, you know, unless we talk about
11 know, going down to his knees first and then falls the [11 _ it here, there's nothing else that you could possibly do,
12 ~—s rest of the way down, 12 ‘I've never heard it cast that way,
13 Q. And we finished here at frame 125 let's call it just for |13 Q. (BY MR. PADDISON): Okay. Now --
14 sake of clean numbers here. T want to back up to frame 80 |14 A. That would be foolish to try to cast it that way.
15 and I walk through this and I want you to tell me ifat }15 Q. And Mr. VanPelt was patted down by Officer Layne initially
16 any point during the sequence of events, you see the lead [16 when he stepped out of his car, correct?
17 figure, which presumably is Mr. VanPelt, lift upward in 117 A. As I recall, yes.
1s the air, okay? 18 Q, Okay, And after Mr. VanPelt was handcuffed and moved over
19 A, All right. No. 19 near Officer Layne's car, did Officer Layne ask Mr.
20 Q. So at no point did you observe the lead figure, presumably |20 VanPelt if he had anything else on him?
21 = Mr. VanPelt, go upward? 21 A. Yes.
22 A, That's correct, 22 Q. Okay. And what did -- if you recall, what did Mr. VanPelt
23 Q. Okay. You were asked some questions about officers |23 respond?
24 utilizing methods if they're trained on being preferred, |24 A, As I recall, he said no, he didn't,
25 correct? 25 Q. Okay. Now, when it comes to doing roadside pat downs or
Page 114 Page 116
1 A. Yes. 1 searches, are there privacy concerns that an officer may
2 Q. Are officers, generally speaking, trained in takedowns, | 2 have?
3 Judo maneuvers, and basic hand-to-hand combat? | 3 A. In terms of privacy of the suspect?
4 A. Generally, yes. 4 Q. Correct.
5 Q. Okay. Do you happen to know if that is part of the | 5 A, There are some limitations depending on the circumstances.
6 training within the Detroit Police Academy? 6 You wouldn't ask someone to disrobe by the roadside, for
7 A. My understanding is that they — Detroit Police Academy | 7 example.
8 meets the M-COLES training objectives. So yes, it would | 8 Q. Okay. So an item that was lodged in someone's butt
9 be included. 9 cheeks, for example, generally wouldn't uncovered ona
10 Q. So hands-on, takedowns, and physical maneuvers would be | 10 routine traffic side pat down, is that fair?
11 spar of their training, correct? 11 A. That's probably fair. That would probably be discovered
12 A. Yes, it's standardized in the State of Michigan. 12. ~— normally at the lockup.
13 Q, Is there anything that you're aware of that requires |13 Q. And that brings me to my next question. The pat down that
14 officers to always use the best possible method of |14 occurs in the street is that generally speaking the case
15 detaining a fleeing suspect? 15 ofan arrestee, the only pat down or search of the person
16 A. Best possible method? 16 —_orare there additional searches that happen later?
17 Q. Right. Are they required to use the best possible method? |17 A. There are additional searches that happen later.
18 A. No, there's nothing that requires that. It's just what |1e Q. Okay. And those are within the generally at the jail
19 they did has to be reasonable under the circumstances. |19 location?
20 Q, And going back to these trainings all the trainings you've |20 A. Generally, although, you know, after the initial pat down
21 _ been in, been apart of, taught yourself, do those [21 ifthe mood or temperament of the suspect shifts somehow
22 trainings generally cover the only methods or specific use |22 or if there's some other external stimuli that indicate
23 of force tactics or are they intended to be guidelines {23 that an officer better take a better look, there may be
24 __ that include specific prohibitions? 24 additional, it just depends on the circumstances.
25 A. They intend to be general guidelines and specific |25 Q. Okay. And then one final question we covered this. I

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1 just want to make sure we're perfectly clear, Return to | 1 Q. And if -- and if -- never mind on that,
2 page 48 of your opinion, specifically the paragraph titled | 2 You were asked to look at frame-by-frame
3 opinions. That begins there with the paragraph before you | 3 analysis as defense counsel did with regard to the second
4 list them, number one, it states that these opinions area | 4 — incident we were talking about while Mr. VanPelt was on
5 reiteration of those presented earlier in the executive | 5 the ground after the tackle. Do you recall that?
6 summary of the report, did I read that correctly? 6 A. Yes.
7 A. Yes. 7 Q. And it's fair to say by looking at that video any which
8 Q. Okay. So the four opinions listed in paragraph bolded 19, | 8 — way; upside-down, frame-by-frame, you can't tell one way
9 is that just a summary of the primary opinions or is that | 9 or the other whether or not Defendant Layne, indeed,

10 an all inclusive list of everything you formed during the {10 — grabbed Mr. VanPelt's hair and pulled him up and dropped
11 course of this case? 11 him, correct?

12 A. This is a re-statement. I mean, the opinions are 12 A. I don't see any indication that he grabbed him by the hair
13 _ initially stated at the beginning to make it simple for |13 and picked him up and dropped him.

14 — Judges to not have to read the whole report initially and |14 Q. And you can see that from the video is what you're relying
15 then this is a re-statement of what is part of the 15 on?

16 executive summary and then these are in addition to any |16 A. What I said was I don't see any indication that he did
17 statements or opinions I may have expressed in the body of | 17 that in the video.

18 that report. 18 Q. Tackle versus a body slam, you would agree with me that
19 Q. Mr. Ashley, that's all I've got. Thank you very much. [19 _ those are two different things, correct?

20 MS. DeROUIN: I have a couple more. Thank you. {20 A. You're using very generic terms, but, you know, a tackle
21 RE-EXAMINATION 21 is different than a body slam the way I'm thinking about a
22. BY MS. DeROUIN: 22 body slam, yes.
23 Q. [have a couple more follow-up after Mr. Paddison's |23 Q. Sure. And with regard to a tackle, you were asked
24 re-direct. 24 questions about the tackle and you were asked to compare
25 Mr. Ashley, you would agree with me that the |25 it to the case that, I believe, is Cutchin vs. DC, Let me
Page 118 Page 120
1s purpose of a search or a pat down during a traffic stop is | 1 first ask you this, You didn't review Cutchin vs. DC and
2 to search for weapons or other illegal contraband, | 2 use that to formulate any opinions in this case, did you?
3 correct? 3 A. No.
4 A. The purpose is to search for weapons primarily. 4 Q, Okay. And you would agree with me that these kind of
5 Q. Sure. Officer safety, correct? 5 cases, in particular whether or not Defendant Layne
6 A. That's true, yes. 6 deployed excessive or unnecessary force against Mr,
7 Q. And officers are trained to do a proper and routine | 7  VanPelt, would be determined by the totality of the
8 search, complete search that we already talked about via | 8 circumstances, correct?
9 pat down in order to obtain any weapons on that person or | 9 A. Could you restate that, Counselor?
io ~— illegal contraband, correct? io Q. Sure. And you understand when you do these review of
11 A. Generally, it's focused on weapons. 11 __ these cases and you offer an opinion with regard to
12 Q, Okay. A weapon such as a gun, you would agree with me, |12 whether or not in this particular case, the Defendant
13 could be found during a pat down, correct? Ifsomebody |13  Layne's force was reasonable or not, you understand it's
14 has a gun on their person, those guns are usually found |14 based upon, as you told me prior, that it's based on the
15 during a pat down ifan officer does a pat down fulland |15 totality of the circumstances, correct, in that given
16 complete as you testified earlier to me, correct? |16 moment that the officer is faced with, correct?
17 A. Typically, a gun would be found, but not always. |17 A. It is based on totality of the circumstances. However, I

_
a

Q. But it's more typical or more likely than not that an |18 — don't offer an opinion that the force was reasonable.

19 _ officer who does a complete pat down by his training that |19 Q. Sure. You can't offer that opinion, correct?

20 he's been trained on, whether it be the police academy or |20 A. That's not for me to decide, That's for the trier of
21 any type of post police officer training, would pat down | 21 fact.

22 to find a gun, correct? 22 Q.No, I understand that. But in general with regard to your
23 A. Typically, that would be the case, but there have been [23 analysis and whether or not you are of the opinion that

24 cases where officers have not found guns because of where | 24 Defendant Layne's actions were, | can use your own words,
25 __ they're secreted. 25  —_ Just one second.
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1 A. Appropriate and logical. + ERRATA SHEET
2 Q. Sure. Thank you. Appropriate and logical, you need to 2 Page/Line Number Correction
3 determine the entire totality of the circumstances, 8
4 correct? 4
5 A. Yes, the totality of the circumstances are an important | >
6 part of the analysis, yes. 6
7 Q. Okay. And if a factor is different in one instant or the | 7
8 other, that needs to be analyzed, for instance, it needs | ®
9 to be of importance whether or not a suspect was | 9
10 handcuffed behind their back, is that true? Lo
11 A, I'm not clear on your question. 14
12 Q. Sure. When you assess a situation of the totality of | 12
13 circumstances, you look not only of the officer's actions | 13
14 on how he reacted, but you also look at the suspect or the {14
15 -- yeah, the fleeing suspect at that time, correct, piven | 15
16 in this case, correct? 16
17 A. I would look at everything by what's being analyzed is the | 17
18 officer's decision to do what they do. So, yeah, that |18
19 becomes the primary factor based on the totality of the |19
20 —scircurmstances as known to the officer at the time that | 20
21 ‘they act, 21
22 Q. Sure. I guess, all I'm asking is in general, it's fair to | 22
23 say when you were shown that case, you looked at the -- | 23
24 looks like the opinion that you were given on that page, |oa
25 correct? 25 DATE SIGNATURE OF WITNESS.
Page 122 Page 124
1 A. I don't understand your question, I'm sorry. t CRRETETCATE OF WITNESS
2 Q. Sure. The case that you were asked to review on the 2
3 screen today, Cutchin v. DC, do you recall that you were 3
4 asked by your attorney to review the yellow highlighted | 4 *r ‘he witness in the
5 version of that? 5 foregoing deposition, do hareby certify that I have read
6 A. Yes, I was asked to review it. He's not my attorney by 6 the deposition transoript of my testimony taken on
7 the way, but yes, I understand. 7 , 2022, and that subject to the
a Q. Excuse me, defense counsel, 8 corrections and clarifications attached hereto, it is a
of A. I understand what you mean. 9 true and correct transcript of my testimony as given in
10 Q. Sorry. That's fine. All I'm asking, sir, is you were | +9 the hereof entitled causa,
11 shown this portion of the case, you can't rely upon itin | 44
12 = your opinions, correct? 12 WITHESE
13 A. That's true, I did not. 13
14 Q. And you didn't have time during your deposition today to | 14 Date
15 look at the case in particular with regard to whether or | 15
16 ~—s not any facts on the totality of the circumstances were |16 Subscribed and sworn to before ma on,
17 different from the case Cutchin -- let me make sure I have | 17
18 it right, Cutchin v. DC — Cutchin vs, DC and the one that |18
19 we're here on today that you were asked to provide expert |19
20 opinion, correct? 20 Notaxy Public in and for County.
21 A. That's true, yes. 21 My Commission expires
22 Q, Okay. 22
23 MS. DeROUIN: I don't have any other questions. | 23
24 (Deposition concluded at 1:11 p.m.) 24
25 25
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